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                     CLASS ACTION SETTLEMENT AGREEMENT

   This Class Action Settlement Agreement (“Settlement Agreement”) is entered into between
and among the Class Representatives, all Class Members, and the Defendants (hereinafter the
“Settling Parties”).

1.     Article 1 - Recitals
1.1    On August 17, 2016, Plaintiffs Allen Munro, Daniel Wheeler, Edward E. Vaynman, Jane
       Singleton, Sarah Wohlgemuth (neé Gleason) and Rebecca Snyder, individually and as a
       class of participants and beneficiaries of the University of Southern California Defined
       Contribution Retirement Plan and the University of Southern California Tax-Deferred
       Annuity Plan (collectively the “Plans”), filed a complaint in the United States District
       Court for the Central District of California (Case No. 2:16-06191). Doc. 1. Plaintiffs
       brought this action alleging that Defendants the University of Southern California, the
       USC Retirement Plan Oversight Committee, and Liza Mazzocco breached their fiduciary
       duties and engaged in prohibited transactions under 29 U.S.C. § 1132(a)(2), and seeking
       equitable relief under 20 U.S.C. § 1132(a)(3). Doc. 1.
1.2    On November 17, 2016, Plaintiffs filed an Amended Complaint adding several claims
       and adding Dion Dickman, Corey Clark, and Steven Olson as named plaintiffs. Doc. 40.
       On July 12, 2019, Plaintiffs filed a Second Amended Complaint (the operative complaint)
       dismissing Edward Vaynman as a plaintiff and adding members of the USC Retirement
       Oversight Committee as defendants. Doc. 149.
1.3    On August 27, 2019, the Court granted in part and denied in part Defendants’ motion to
       dismiss the Second Amended Complaint. Doc. 175. Plaintiffs’ remaining claims alleged
       Defendants violated 29 U.S.C. § 1104(a)(1)(B) by causing the Plans to pay excessive
       recordkeeping fees and including imprudent investment options. Id. at 8–9. The order
       also dismissed all individual defendants because plaintiffs “alleged no facts
       demonstrating their liability,” and USC agreed to take responsibility for any liability of
       indvidual Committee members, leaving USC and the USC Retirement Plan Oversight
       Committee as the remaining defendants. Id. at 11.
1.4    On December 20, 2019, the Court certified this action as a class action under Federal
       Rule of Civil Procedure 23(b)(1), Doc. 202, appointed Plaintiffs’ undersigned attorneys
       as Class Counsel, appointed Plaintiffs Clark, Dickman, Munro, Olson, Singleton, Snyder,
       Wheeler, and Wohlgemuth as Class Representatives, and defined the certified class as
       follows:
              All participants and beneficiaries of the University of Southern California
              Defined Contribution Retirement Plan and the University of Southern
              California Tax-Deferred Annuity Plan from August 17, 2010 through the
              date of judgment, excluding the Defendants.
1.5    The trial of Plaintiffs’ remaining claims was scheduled to begin on January 24, 2023. On
       that morning, the parties reached a tentative settlement of those claims. The terms of the
       parties’ settlement are memorialized in this Settlement Agreement.



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                                                                                                    Exhibit A
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1.6        The Settling Parties have concluded that it is desirable that the Class Action be finally
           settled upon the terms and conditions set forth in this Settlement Agreement.
1.7        Therefore, the Settling Parties, in consideration of the promises, covenants, and
           agreements herein described, acknowledged by each of them to be satisfactory and
           adequate, and intending to be legally bound, do hereby mutually agree as follows.
2.         Article 2 - Definitions

           As used in this Settlement Agreement and the Exhibits hereto (as listed in Paragraph
           12.19), unless otherwise defined, the following terms have the meanings specified below:

     2.1     “Active Account” means an individual investment account in either of the Plans with a
             balance greater than $0 on the last day of the Class Period (December 31, 2022), and
             that is recordkept by Prudential Insurance Company of America, Fidelity Investments,
             TIAA-CREF, or the Vanguard Group.

     2.2     “Administrative Expenses” means expenses incurred in the administration of this
             Settlement Agreement, including (a) all fees, expenses, and costs associated with
             providing the Settlement Notices to the Class, including but not limited to the
             reasonable fees of the Plans’ recordkeepers or vendors to identify the names and
             addresses of the Class; (b) related tax expenses of the Settlement Fund (including taxes
             and tax expenses as described in Paragraph 5.3); (c) all expenses and costs associated
             with the distribution of funds pursuant to the Plan of Allocation, including but not
             limited to the fees of the Plans’ recordkeepers associated with implementing this
             Settlement Agreement, facilitating the distribution of funds pursuant to the Plan of
             Allocation, and gathering the data necessary to prepare the Plan of Allocation; (d) all
             fees and expenses of the Independent Fiduciary, Settlement Administrator, and Escrow
             Agent; and (e) all fees, expenses, and costs associated with providing notices required
             by CAFA. Excluded from Administrative Expenses are Defendants’ internal expenses
             and the Settling Parties’ respective legal expenses. Administrative Expenses shall be
             paid from the Gross Settlement Amount.

     2.3     “Alternate Payee” means a person other than a Plan participant or Beneficiary who is
             entitled to a benefit under the Plans as a result of a Qualified Domestic Relations
             Order.

     2.4     “Attorneys’ Fees and Costs” means the amount awarded by the Court from the Gross
             Settlement Amount as compensation for the services provided by Class Counsel and to
             be provided in the future during the Settlement Period. Class Counsel agree that they
             will not seek more than one-third of the Gross Settlement Amount (or $4,350,000),
             which shall be recovered from the Gross Settlement Amount. Class Counsel also will
             seek reimbursement for all litigation costs and expenses advanced and carried by Class
             Counsel for the duration of this litigation, including the pre-litigation investigation
             period, not to exceed $1,500,000 which also shall be recovered from the Gross
             Settlement Amount.



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 2.5    “Authorized Former Participant” means a Former Participant who has submitted a
        completed, satisfactory Former Participant Claim Form that is postmarked before the
        Claims Deadline set by the Court in the Preliminary Order, or electronically submitted
        online no later than the Claims Deadline, whose Former Participant Claim Form is
        accepted by the Settlement Administrator.

 2.6    “Beneficiary” means a person who currently is entitled to receive a benefit under the
        Plans upon the death of a Plan participant, other than an Alternate Payee. A
        Beneficiary includes, but is not limited to, a spouse, surviving spouse, domestic
        partner, or child who currently is entitled to a benefit.

 2.7    “CAFA” means the Class Action Fairness Act of 2005, 28 U.S.C. §§ 1711–1715.

 2.8    “Claims Deadline” means a date that is no later than ten (10) calendar days before the
        Fairness Hearing.

 2.9    “Class” means the class certified by the Court but modified to include an end date: All
        participants and beneficiaries of the University of Southern California Defined
        Contribution Retirement Plan and the University of Southern California Tax-Deferred
        Annuity Plan from August 17, 2010 through December 31, 2022, excluding the
        members of the Retirement Plan Oversight Committee.

 2.10   “Class Action” means Munro v. University of Southern California, No. 2:16-06191 in
        the United States District Court for the Central District of California.

 2.11   “Class Counsel” means Schlichter Bogard & Denton LLP, 100 South Fourth Street,
        Suite 1200, St. Louis, Missouri, 63102.

 2.12   “Class Members” means all individuals in the Class.

 2.13   “Class Period” means the period from August 17, 2010 through December 31, 2022.

 2.14   “Class Representatives” means Corey Clark, Dion Dickman, Allen Munro, Steven
        Olson, Jane Singleton, Rebecca Snyder, Daniel Wheeler, and Sarah Wohlgemuth.

 2.15   “Class Representatives’ Compensation” means an amount to be determined by the
        Court, but not to exceed $25,000 for each Class Representative, which shall be paid
        from the Gross Settlement Amount.

 2.16   “Court” means the United States District Court for the Central District of California.

 2.17   “Current Participant” means a member of the Class who participated in the Plans
        during the Class Period and has an Active Account.

 2.18   “Defendants” means the University of Southen California and the USC Retirement
        Plan Oversight Committee.



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 2.19   “Defense Counsel” means counsel for Defendants, including Christopher Chorba,
        Heather Richardson, and Jennafer Tryck, Gibson, Dunn & Crutcher LLP, 333 South
        Grand Avenue, Los Angeles, CA 90071.

 2.20   “Escrow Agent” means an entity as agreed to by the Settling Parties to manage the
        escrow account for the settlement.

 2.21   “Fairness Hearing” means the hearing scheduled by the Court to consider (a) any
        objections from the Class to the Settlement Agreement, (b) Class Counsel’s Motion for
        Attorneys’ Fees and Costs and Class Representatives’ Compensation, and (c) whether
        to finally approve the Settlement under Federal Rule of Civil Procedure 23.

 2.22   “Final Order” means the order and final judgment approving the Settlement
        Agreement, implementing the terms of this Settlement Agreement, and dismissing the
        Class Action with prejudice, to be proposed by the Settling Parties for approval by the
        Court, in substantially the form attached as Exhibit 5.

 2.23   “Final” means with respect to any judicial ruling, order, or judgment, that the period
        for any motions for reconsideration, rehearing, appeals, petitions for certiorari, or the
        like (“Review Proceeding”) has expired without the initiation of a Review Proceeding,
        or, if a Review Proceeding has been timely initiated, that it has been fully and finally
        resolved, either by court action or by voluntary action of any party, without any
        possibility of a reversal, vacatur, or modification of any judicial ruling, order, or
        judgment, including the exhaustion of all proceedings in any remand or subsequent
        appeal and remand. The Settling Parties agree that absent an appeal or other attempted
        review proceeding, the period after which the Final Order becomes Final is thirty (30)
        calendar days after its entry.

 2.24   “Former Participant” means a member of the Class who does not have an Active
        Account, but who during the Class Period, had an individual investment account in
        either of the Plans with a balance greater than $0 that was recordkept by Prudential
        Insurance Company of America, Fidelity Investments, TIAA-CREF, or the Vanguard
        Group.

 2.25   “Former Participant Claim Form” means the form described generally in Paragraph
        3.4.2 and substantially in the form attached as Exhibit 1.

 2.26   “Gross Settlement Amount” means the sum of thirteen million fifty thousand dollars
        ($13,050,000) contributed to the Qualified Settlement Fund pursuant to Article 5. The
        Gross Settlement Amount shall be the full and sole monetary payment to the Class,
        Plaintiffs, and Class Counsel made on behalf of Defendants in connection with the
        Settlement effectuated through this Settlement Agreement.

 2.27   “Independent Fiduciary” means an independent fiduciary, who will serve as a
        fiduciary to the Plans in accordance with Article 3 and who currently has no
        relationship to or interest in any of the Settling Parties and is mutually agreed to by the
        Settling Parties.


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 2.28   “Mediator” means Robert Meyer or, if he is unavailable, another mediator mutually
        agreed upon by the Settling Parties.

 2.29   “Net Settlement Amount” means the Gross Settlement Amount minus: (a) all
        Attorneys’ Fees and Costs paid to Class Counsel or Other Counsel as authorized by
        the Court; (b) all Class Representatives’ Compensation as authorized by the Court;
        (c) all Administrative Expenses; and (d) a contingency reserve not to exceed an
        amount to be mutually agreed upon by the Settling Parties that is set aside by the
        Settlement Administrator for: (1) Administrative Expenses incurred before the
        Settlement Effective Date but not yet paid; (2) Administrative Expenses estimated to
        be incurred after the Settlement Effective Date but before the end of the Settlement
        Period; and (3) an amount estimated for adjustments of data or calculation errors.

 2.30   “Plaintiffs” means the Class Representatives and the Class Members.

 2.31   “Plans” or “Plan” means the University of Southern California Defined Contribution
        Retirement Plan and the University of Southern California Tax-Deferred Annuity Plan.

 2.32   “Plan of Allocation” means the methodology for allocating and distributing the Net
        Settlement Amount pursuant to Article 6 below.

 2.33   “Plan Fiduciary” means the current named fiduciary for administration of the Plan in
        the Plan document or its delegate.

 2.34   “Plan Sponsor” means the University of Southern California.

 2.35   “Preliminary Order” means the order proposed by the Settling Parties and approved by
        the Court in connection with the Motion for Entry of the Preliminary Order to be filed
        by Class Representatives through Class Counsel, as described in Paragraph 3.2 and in
        substantially the form attached hereto as Exhibit 2.

 2.36   “Protective Order” means the Protective Order entered by the Court on August 11,
        2017 (Doc. 72).

 2.37   “Qualified Settlement Fund” or “Settlement Fund” means the interest-bearing,
        settlement fund account to be established and maintained by the Escrow Agent
        pursuant to Article 5 hereof and referred to as the Qualified Settlement Fund (within
        the meaning of Treas. Reg. § 1.468B-1).

 2.38   “Released Parties,” “Releasing Parties,” and “Released Claims” shall have the
        meaning defined in Article 8.

2.39    “Settlement” refers to the agreement embodied in this Settlement Agreement and its
        Exhibits and pursuant to the Final Order.

 2.40   “Settlement Administrator” means an independent contractor to be retained by Class
        Counsel.


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     2.41     “Settlement Agreement Execution Date” means that date on which the final signature
              is affixed to this Settlement Agreement.

     2.42     “Settlement Effective Date” means the date on which the Final Order has become
              Final, provided that by such date the Settlement has not been terminated pursuant to
              Article 11.

     2.43     “Settlement Notice” means the Notices of Class Action Settlement and Fairness
              Hearing to be sent to Class Members identified by the Settlement Administrator
              following the Court’s issuance of the Preliminary Order, in substantially the form
              attached hereto as Exhibits 3 and 4. The Settlement Notice also shall inform Class
              Members of a Fairness Hearing to be held before the Court, on a date to be determined
              by the Court, at which any Class Member satisfying the conditions set forth in the
              Preliminary Order and the Settlement Notice may be heard regarding: (a) the terms of
              the Settlement Agreement; (b) the petition(s) of Class Counsel and/or Other Counsel
              for award of Attorneys’ Fees and Costs; (c) payment of and reserve for Administrative
              Expenses; and (d) Class Representatives’ Compensation. The Settlement Notice shall
              inform Former Participants of the Claims Deadline by which they must file a
              completed Former Participant Claim Form to be eligible for a distribution pursuant to
              the Plan of Allocation.

     2.44     “Settlement Period” means the period of time that begins on the Settlement Effective
              Date and ends three years after the Settlement Effective Date.

     2.45     “Settlement Website” means the Internet site established pursuant to Paragraph 12.3.

     2.46     “Settling Parties” means the Defendants and the Class Representatives, on behalf of
              themselves and each of the Class Members.

     2.47     “Zero Account Balance Current Participant” means a Current Participant with an
              individual investment account in the Plans with a balance equal to or less than $0 as of
              the date the Settlement Administrator provides the Current Participant information to
              the Plans’ recordkeepers in accordance with Paragraph 6.4.1.

3.          Article 3 – Review and Approval by Independent Fiduciary, Preliminary Settlement
            Approval, and Notice to the Class

     3.1      The Independent Fiduciary, agreed to by Class Counsel and Defendants, and retained
              by the Plan Fiduciary on behalf of the Plans, will determine independently whether to
              approve and authorize the settlement of Released Claims on behalf of the Plans.

            3.1.1   The Independent Fiduciary shall comply with all relevant conditions set forth in
                    Prohibited Transaction Class Exemption 2003-39, “Release of Claims and
                    Extensions of Credit in Connection with Litigation,” issued December 31, 2003,
                    by the United States Department of Labor, 68 Fed. Reg. 75,632, as amended
                    (“PTE 2003-39”) in making its determination, for the purpose of the Plan
                    Fiduciary’s reliance on PTE 2003-39.


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       3.1.2   All fees and expenses associated with the Independent Fiduciary’s determination
               and performance of its other obligations in connection with the Settlement will
               constitute Administrative Expenses to be deducted from the Gross Settlement
               Amount.

       3.1.3   The Plan Fiduciary, Defense Counsel, and Class Counsel shall provide the
               Independent Fiduciary with sufficient information so that the Independent
               Fiduciary can review the Settlement Agreement. The Independent Fiduciary
               shall notify the Plan Fiduciary of its determination in writing (with copies to
               Class Counsel and Defense Counsel), which notification shall be delivered no
               later than thirty (30) calendar days before the Fairness Hearing.

       3.1.4   Within fifteen (15) business days of receipt of the notification from the
               Independent Fiduciary, the Plan Fiduciary shall (a) review the determination by
               the Independent Fiduciary, (b) conclude whether the Independent Fiduciary has
               made the determinations required by the PTE 2003-39, and (c) notify Class
               Counsel and Defense Counsel in writing of its conclusion in that regard.

 3.2     The Settling Parties shall file with the Court a motion seeking preliminary approval of
         this Settlement Agreement and for entry of the Proposed Order Granting Preliminary
         Approval of Settlement in substantially the form attached as Exhibit 2. The Proposed
         Order to be presented to the Court shall, among other things:

       3.2.1   Approve the text of the Settlement Notice, to be provided to Class Members
               identified by the Settlement Administrator, and the Former Participant Claim
               Form, to be provided to Former Participants, to notify them of the Fairness
               Hearing and that notice of changes to the Settlement Agreement, future orders
               regarding the Settlement, modifications to the Class Notice, changes in the date
               or timing of the Fairness Hearing, or other modifications to the Settlement,
               including the Plan of Allocation, may be provided to the Class through the
               Settlement Website without requiring additional mailed notice;

       3.2.2   Cause the Settlement Administrator to send by electronic means or first class
               mail the Settlement Notice to each Class Member identified by the Settlement
               Administrator and the Former Participant Claim Form to each Former
               Participant identified by the Settlement Administrator based upon the data
               provided by the Plans’ recordkeepers;

       3.2.3   Determine under Federal Rule of Civil Procedure 23(e), that the Settlement
               Notices constitute reasonable and appropriate notice under the circumstances,
               provide due and sufficient notice of the Fairness Hearing and of the rights of all
               Class Members, and comply fully with the requirements of Federal Rule of Civil
               Procedure 23, the Constitution of the United States, and any other applicable
               law;

       3.2.4   Provide that, pending final determination of whether the Settlement Agreement
               should be approved, no Class Member may directly, through representatives, or

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                in any other capacity, commence any action or proceeding in any court or
                tribunal asserting any of the Released Claims against the Defendants, the
                Released Parties, or the Plans;

       3.2.5    Set the Fairness Hearing for a date no sooner than one hundred twenty (120)
                calendar days after the date the Motion for Preliminary Approval is filed, in
                order to determine whether (i) the Court should approve the Settlement as fair,
                reasonable, and adequate, (ii) the Court should enter the Final Order, and
                (iii) the Court should approve the application(s) for Attorneys’ Fees and Costs,
                Class Representatives’ Compensation, and Administrative Expenses incurred to
                date, and a reserve for anticipated future Administrative Expenses;

       3.2.6    Provide that any objections to any aspect of the Settlement Agreement shall be
                heard, and any papers submitted in support of said objections shall be
                considered by the Court at the Fairness Hearing if they have been filed validly
                with the Clerk of the Court and copies provided to Class Counsel and Defense
                Counsel. To be filed validly, the objection and any notice of intent to appear or
                supporting documents must be filed at least thirty (30) calendar days before the
                scheduled Fairness Hearing. Any person wishing to speak at the Fairness
                Hearing shall file and serve a notice of intent to appear at least thirty (30)
                calendar days before the scheduled Fairness Hearing;

       3.2.7    Provide that the Settling Parties may, but are not required to, serve discovery
                requests, including requests for documents and notice of deposition not to
                exceed two (2) hours in length, on any objector within ten (10) calendar days of
                receipt of the objection and that any responses to discovery or depositions must
                be completed within ten (10) calendar days of the discovery request being
                served on the objector;

       3.2.8    Provide that any party may file a response to an objection by a Class Member at
                least five (5) calendar days before the Fairness Hearing;

       3.2.9    Set a deadline of no later than ten (10) calendar days before the Fairness Hearing
                by which a Former Participant Claim Form must be postmarked for delivery to
                the Settlement Administrator in order to be considered for a distribution
                pursuant to the Plan of Allocation;

       3.2.10   Provide that the Fairness Hearing may, without further direct notice to the Class,
                other than by notice to Class Counsel, be adjourned or continued by order of the
                Court; and

       3.2.11   Approve the form of the CAFA Notices attached as Exhibit 6 and order that
                upon the mailing of the CAFA notices, Defendants shall have fulfilled their
                obligations under CAFA.

 3.3     Defense Counsel, in coordination with the Plan Fiduciary, shall use its best efforts to
         respond timely to written requests, including by e-mail, from the Settlement
         Administrator for readily accessible data that are reasonably necessary to determine
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         the feasibility of administering the Plan of Allocation or to implement the Plan of
         Allocation. The actual and reasonable expenses of any third party, including the Plans’
         recordkeepers, that are necessary to perform such work shall be Administrative
         Expenses to be deducted from the Gross Settlement Amount.

       3.3.1   The Settlement Administrator shall be bound by the Protective Order entered in
               this case (Doc. 72) and any further non-disclosure or claim security protocol
               required by the Settling Parties.

       3.3.2   The Settlement Administrator shall use the data provided in response to its
               requests for readily accessible data solely for the purpose of meeting its
               obligations as Settlement Administrator and for no other purpose.

       3.3.3   The Settling Parties shall have the right to approve a written protocol to be
               provided by the Settlement Administrator concerning how the Settlement
               Administrator will maintain and store information provided under Paragraph 3.3
               to ensure that reasonable and necessary precautions are taken to safeguard the
               privacy and security of such information.

 3.4     By the date and in the manner set by the Court in the Proposed Order or at least 60
         days prior to the date of the Final Fairness Hearing, and unless otherwise set forth
         below, the Settlement Administrator shall:

       3.4.1   Cause to be sent to each Class Member identified by the Settlement
               Administrator a Settlement Notice in the form and manner to be approved by the
               Court, which shall be in substantially the form attached hereto as Exhibits 3 and
               4 or a form subsequently agreed to by the Settling Parties and the Court. The
               Settlement Notice shall be sent by electronic means, to the last known e-mail
               address of each Class Member provided by the Plan Fiduciary. If there is no e-
               mail address on file or if it is returned as undeliverable, the Settlement
               Administrator will send the same notice by first-class mail, postage prepaid, to
               the physical address on file. Should the first-class mailing be returned, the
               Settlement Administrator will use its best efforts to verify the last known
               addresses provided by the Plan Fiduciary. The Settlement Administrator shall
               use commercially reasonable efforts to locate any Class Member whose
               Settlement Notice is returned and re-send such documents one additional time.
               Class Counsel also shall post a copy of the Settlement Notice on the Settlement
               Website.

       3.4.2   Cause the Former Participant Claim Form, which shall be in substantially the
               form attached as Exhibit 1, or a form subsequently agreed to by the Settling
               Parties and the Court, to be included with the Settlement Notice that is mailed or
               sent by electronic means to the Former Participants.

       3.4.3   Prepare and provide CAFA notices to the Attorney General of the United States,
               the Secretary of the Department of Labor, and the Attorneys General of all states
               in which members of the Class reside, as specified by 28 U.S.C. § 1715, within

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                   ten (10) calendar days of Class Representatives’ filing of the Settlement
                   Agreement and proposed Preliminary Order. Subject to Court approval, the costs
                   of such notice shall be paid from the Qualified Settlement Fund and shall be
                   considered Administrative Expenses.

4.         Article 4 – Final Settlement Approval

     4.1     No later than ten (10) business days before the Fairness Hearing, Class Counsel and
             Defense Counsel shall submit to the Court a mutually agreed upon motion for entry of
             the Proposed Final Approval Order and Judgment (Exhibit 5), which shall request
             approval by the Court of the terms of this Settlement Agreement and entry of the Final
             Order in accordance with this Settlement Agreement. The Final Order as proposed by
             the Settling Parties shall provide for the following, among other things as is necessary
             to carry out the Settlement consistent with applicable law and governing Plan
             documents:

           4.1.1   Approval of the Settlement of the Released Claims covered by this Settlement
                   Agreement adjudging the terms of the Settlement Agreement to be fair,
                   reasonable, and adequate to the Plans and the Class, and directing the Settling
                   Parties to take the necessary steps to effectuate the terms of the Settlement
                   Agreement;

           4.1.2   A determination under Federal Rule of Civil Procedure 23(e) that the Settlement
                   Notice constitutes reasonable and appropriate notice under the circumstances,
                   and that due and sufficient notice of the Fairness Hearing and the rights of all
                   Class Members has been provided;

           4.1.3   Except for retention of jurisdiction to enforce the terms of the Settlement
                   Agreement, dismissal with prejudice of the Class Action and all Released
                   Claims asserted therein whether asserted by Class Representatives on their own
                   behalf or on behalf of the Class, or derivatively to secure relief for the Plans,
                   without costs to any of the Settling Parties other than as provided for in this
                   Settlement Agreement;

           4.1.4   That each Class Member and their respective heirs, beneficiaries, executors,
                   administrators, estates, past and present partners, officers, directors, agents,
                   attorneys, predecessors, successors, and assigns, shall be (a) conclusively
                   deemed to have, and by operation of the Final Order shall have, fully, finally,
                   and forever settled, released, relinquished, waived, and discharged Defendants,
                   the Plans, and the Released Parties from all Released Claims, and (b) barred
                   from suing Defendants, the Plans, or the Released Parties in any action or
                   proceeding alleging any of the Released Claims, even if any Class Member may
                   thereafter discover facts in addition to or different from those which the Class
                   Members or Class Counsel now know or believe to be true with respect to the
                   Class Action and the Released Claims, whether or not such Class Members have
                   executed and delivered a Former Participant Claim Form, whether or not such
                   Class Members have filed an objection to the Settlement or to any application by

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                    Class Counsel for an award of Attorneys’ Fees and Costs, and whether or not the
                    objections or claims for distribution of such Class Members have been approved
                    or allowed;

           4.1.5    That each Class Member releases Defendants, Defense Counsel, Class Counsel,
                    the Released Parties, and the Plans for any claims, liabilities, and attorneys’ fees
                    and expenses arising from the allocation of the Gross Settlement Amount or Net
                    Settlement Amount and for all tax liability and associated penalties and interest
                    as well as related attorneys’ fees and expenses;

           4.1.6    That all applicable CAFA requirements have been satisfied;

           4.1.7    That the Settlement Administrator shall have final authority to determine the
                    share of the Net Settlement Amount to be allocated to each Current Participant
                    and each Authorized Former Participant pursuant to the Plan of Allocation
                    approved by the Court;

           4.1.8    That, with respect to payments or distributions to Authorized Former
                    Participants, all questions not resolved by the Settlement Agreement shall be
                    resolved by the Settlement Administrator in its sole and exclusive discretion;

           4.1.9    That, with respect to any matters that arise concerning the implementation of
                    distributions to Current Participants (after allocation decisions have been made
                    by the Settlement Administrator in its sole discretion), all questions not resolved
                    by the Settlement Agreement shall be resolved by the Plan Fiduciary pursuant to
                    the applicable law and governing Plan terms;

           4.1.10   That the Plan Fiduciary shall not have any liability with respect to any questions
                    it resolves regarding distributions beyond that provided for in applicable law and
                    governing Plan terms; and

           4.1.11   That within three (3) calendar days following the issuance of all settlement
                    payments to Class Members as provided by the Plan of Allocation approved by
                    the Court, the Settlement Administrator shall prepare and provide to Class
                    Counsel and Defense Counsel a list of each person who received a settlement
                    payment or contribution from the Qualified Settlement Fund and the amount of
                    such payment or contribution.

     4.2     The Final Order shall provide that upon its entry all Class Members and the Plans shall
             be bound by the Settlement Agreement and by the Final Order.

5.         Article 5 – Establishment of Qualified Settlement Fund

     5.1     No later than five (5) business days after entry of the Preliminary Order, the Escrow
             Agent shall establish an escrow account. The Settling Parties agree that the escrow
             account is intended to be, and agree to treat the escrow account at all times as, an
             interest-bearing “qualified settlement fund” for U.S. federal income tax purposes
             within the meaning of Treas. Reg. § 1.468B-1(a) (the Qualified Settlement Fund or

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        Settlement Fund defined in Paragraph 2.37, above). The Settling Parties, the
        Settlement Administrator, and the Escrow Agent shall take any action reasonably
        necessary to ensure that the Qualified Settlement Fund satisfies the requirements of
        Treas. Reg. §§ 1.468B-1 through 1.468B-5. In addition, the Escrow Agent and
        Defendants shall timely and jointly make such elections as necessary or advisable to
        carry out the provisions of this Paragraph 5.1, including the “relation-back election”
        (as defined in Treas. Reg. §1.468B-1(j)(2)) back to the earliest permitted date. Such
        elections shall be made in compliance with the procedures and requirements contained
        in such regulations. It shall be the responsibility of the Escrow Agent to prepare and
        deliver, in a timely and proper manner, the necessary documentation for signature by
        all necessary parties, and thereafter to cause the appropriate filing to occur.

  5.2   For the purpose of § 468B of the Internal Revenue Code of 1986, as amended, and the
        regulations promulgated thereunder, the “administrator” of the Qualified Settlement
        Fund shall be the Escrow Agent. The Escrow Agent shall timely and properly cause to
        be filed all informational and other tax returns, reports, statements and/or forms
        necessary or advisable with respect to the Qualified Settlement Fund (including
        without limitation applying for a Taxpayer Identification Number for the Qualified
        Settlement Fund and filing the returns described in Treas. Reg. § 1.468B-2(k) and, to
        the extent applicable, Treas. Reg. § 1.468B-2(1)). Such returns, reports, statements
        and/or forms, including the election described in Paragraph 5.1 shall be consistent with
        this Article 5 and, in all events, shall reflect that all taxes (as defined in Paragraph 5.3
        below) (including any estimated taxes, interest, or penalties) on the income earned by
        the Qualified Settlement Fund, including in respect of the Gross Settlement Amount,
        shall be deducted and paid from the Gross Settlement Amount as provided in
        Paragraph 5.3 hereof.

  5.3   Taxes and tax expenses are Administrative Expenses to be deducted and paid from the
        Gross Settlement Amount, including but not limited to: (1) all taxes (including any
        estimated taxes, interest, or penalties) arising with respect to the income earned by the
        Gross Settlement Amount, including any taxes or tax detriments that may be imposed
        upon Defendants or Defense Counsel with respect to any income earned by the Gross
        Settlement Amount for any period during which the Gross Settlement Amount does
        not qualify as a “qualified settlement fund” for federal or state income tax purposes,
        and (2) all tax expenses and costs incurred in connection with the operation and
        implementation of this Article 5 (including, without limitation, expenses of tax
        attorneys and/or accountants and mailing and distribution costs and expenses relating
        to filing (or failing to file) the returns described in this Article 5). Such taxes and tax
        expenses shall be Administrative Expenses and shall be paid timely by the Escrow
        Agent out of the Gross Settlement Amount without prior order from the Court. The
        Escrow Agent shall be obligated (notwithstanding anything herein to the contrary) to
        withhold from distribution to any Class Member any funds necessary to pay such
        amounts, including the establishment of adequate reserves for any taxes and tax
        expenses (as well as any amounts that may be required to be withheld under Treas.
        Reg. §1.468B-2(1)(2)); neither Released Parties, Defense Counsel, nor Class Counsel
        are responsible nor shall they have any liability therefor. Any amount deducted or
        withheld in accordance with this Paragraph 5.3 shall be treated as having been paid to

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        the person in respect of whom such deduction or withholding was made. The Settling
        Parties agree to cooperate with the Escrow Agent, each other, and their advisors to the
        extent reasonably necessary to carry out the provisions of this Article 5.

  5.4   Within fifteen (15) business days or thirty (30) calendar days, to be determined by the
        Court or later agreement by the parties, after (a) the Preliminary Order is entered, or
        (b) the escrow account described in Paragraph 5.1 is established, whichever occurs
        later, Defendants, or their representatives or insurers, will deposit one million dollars
        ($1,000,000) into the Qualified Settlement Fund (the “Initial Funding”), provided,
        however, that Defendants, and their representatives or insurers, shall not be obligated
        to deposit the Initial Funding until the Escrow Agent provides to Defendants the
        escrow account name, a properly completed IRS W-9 Form, and all necessary wiring
        instructions.

  5.5   Within fifteen (15) business days or thirty (30) calendar days, to be determined by the
        Court or later agreement by the parties, after the Final Order is entered, Defendants, or
        their representatives or insurers, will deposit twelve million fifty thousand dollars
        ($12,050,000) into the Qualified Settlement Fund (the “Final Funding”), provided,
        however that Defendants, and their representatives or insurers, shall not be obligated
        to deposit the Final Funding until the Escrow Agent provides to Defendants the escrow
        account name, a properly completed IRS W-9 Form, and all necessary wiring
        instructions.

  5.6   The Escrow Agent shall, at the written direction of Class Counsel, invest the Qualified
        Settlement Fund in short-term United States Agency or Treasury Securities or other
        instruments backed by the Full Faith and Credit of the United States Government or an
        Agency thereof, or fully insured by the United States Government or an Agency
        thereof, and shall reinvest the proceeds of these investments as they mature in similar
        instruments at their then-current market rates. All risks related to the investment of the
        Qualified Settlement Fund shall be borne by the Qualified Settlement Fund.

  5.7   The Qualified Settlement Fund shall remain subject to the jurisdiction of the Court
        until such time as the Qualified Settlemetn Fund shall be distributed, and the Escrow
        Agent shall not disburse the Qualified Settlement Fund or any portion thereof except
        as provided in this Settlement Agreement, in an order of the Court, or a subsequent
        written stipulation between Class Counsel and Defense Counsel. Subject to the orders
        of the Court, the Escrow Agent is authorized to execute such transactions as are
        consistent with the terms of this Settlement Agreement.

  5.8   Within one-hundred twenty (120) calendar days after the Settlement Effective Date,
        the Gross Settlement Amount will be distributed from the Qualified Settlement Fund
        as follows: (a) first, all Attorneys’ Fees and costs shall be paid to Class Counsel within
        five (5) business days after the Settlement Effective Date; (b) second, all
        Administrative Expenses not paid previously shall be paid within five (5) business
        days after the Settlement Effective Date; (c) third, any Class Representatives’
        Compensation ordered by the Court shall be paid within five (5) business days after
        the Settlement Effective Date; (d) fourth, a contingency reserve not to exceed an

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              amount to be mutually agreed upon by the Settling Parties shall be set aside by the
              Settlement Administrator for: (1) Administrative Expenses incurred before the
              Settlement Effective Date but not yet paid, (2) Administrative Expenses estimated to
              be incurred after the Settlement Effective Date but before the end of the Settlement
              Period, and (3) an amount estimated for adjustments of data or calculation errors; and
              (e) fifth, the Net Settlement Amount will be distributed pursuant to the Plan of
              Allocation with best efforts of the Settlement Administrator to do so as quickly as
              possible, and at the latest, within one-hundred twenty (120) calendar days after the
              Settlement Effective Date. Pending final distribution of the Net Settlement Amount in
              accordance with the Plan of Allocation, such account shall be held by the Escrow
              Agent.

     5.9      The Escrow Agent shall be solely responsible for making provision for the payment
              from the Qualified Settlement Fund of all taxes and tax expenses, if any, owed with
              respect to the Qualified Settlement Fund and for all tax reporting and withholding
              obligations, if any, for amounts distributed from it. Released Parties, Defense Counsel,
              and/or Class Counsel have no responsibility or any liability for any taxes or tax
              expenses owed by, or any tax reporting or withholding obligations, if any, of the
              Qualified Settlement Fund.

     5.10     No later than February 15 of the year following the calendar year in which Defendants,
              their insurers, or representatives make a transfer to the Qualified Settlement Fund
              pursuant to the terms of this Article 5, Defendants, their insurers, or representatives
              shall timely furnish a statement to the Escrow that complies with Treas. Reg. §1.468B-
              3(e)(2), which may be a combined statement under Treas. Reg. §1.468B-3(e)(2)(ii),
              and shall attach a copy of the statement to its federal income tax returns filed for the
              taxable year in which Defendants, their insurers, or representatives make a transfer to
              the Qualified Settlement Fund.

6.          Article 6 – Plan of Allocation

     6.1      After the Settlement Effective Date, the Settlement Administrator shall cause the Net
              Settlement Amount to be allocated and distributed to the Authorized Former
              Participants and to the Plans for allocation to the accounts of Current Participants in
              accordance with the Plan of Allocation set forth in this Article 6 and as ordered by the
              Court.

     6.2      To be eligible for a distribution from the Net Settlement Amount, a person must be a
              Current Participant, an Authorized Former Participant, or a Beneficiary or Alternate
              Payee of such a person.

            6.2.1   Current Participants shall receive their settlement payments as either
                    contributions to their account(s) in the Plans or by check, as provided in
                    Paragraphs 6.4 and 6.5 below.

            6.2.2   Authorized Former Participants shall receive their settlement payments in the
                    form of a check, as provided in Paragraph 6.5 below.

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        6.2.3    Beneficiaries shall receive payments by check in amounts corresponding to their
                 entitlement as beneficiaries of the Current Participant or of the Authorized
                 Former Participant with respect to which the payment is made. Alternate Payees
                 shall receive payments by check if and to the extent they are entitled to receive a
                 portion of a Current Participant’s or Authorized Former Participant’s allocation
                 under this Article 6 in accordance with the terms of the applicable Qualified
                 Domestic Relations Order. The Settlement Administrator shall have sole and
                 final discretion to determine the amounts to be paid to Beneficiaries and
                 Alternate Payees in accordance with the Plan of Allocation set forth in this
                 Article 6 and as ordered by the Court.

  6.3     Calculation of Settlement Payments. Payments to Authorized Former Participants
          and Current Participants shall be calculated by the Settlement Administrator in
          accordance with the Plan of Allocation as follows:

        6.3.1    Defendants and Defense Counsel shall provide the Settlement Administrator
                 quarter-ending account balances for each Class Member with accounts
                 recordkept by TIAA, Prudential, Fidelity, or Vanguard during the Class Period,
                 as well as data reflecting the allocation of new contributions among the Plans’
                 recordkeepers for each Current Participant as of December 31, 2022 and such
                 other information as the Settlement Administrator requires to effect this Plan of
                 Allocation. Defendants agree to provide the necessary approvals authorizing
                 transmission of such information to the Settlement Administrator.

        6.3.2    Payments to Authorized Former Participants and Current Participants shall be
                 calculated by the Settlement Administrator as follows:

                1. The end-of-quarter balances for the Class Period of each Current Participant
                   and each Authorized Former Participant are identified for each quarter;
                2. All end-of-quarter balances identified in step 1 are summed together for each
                   Current Participant and each Authorized Former Participant;
                3. An average end-of-quarter balance for each Current Participant and each
                   Authorized Former Participant is calculated for the Class Period (with a zero
                   included as the balance for any quarter during which the individual did not
                   participate in the Plan or took a full distribution during the quarter);
                4. For each Current Participant and each Authorized Former Participant, the
                   average end-of-quarter balance of step 3 is divided by the average end-of-
                   quarter balance for the Class Period of all Current and Authorized Former
                   Participants;
                5. Each Current Participant and each Authorized Former Participant will receive
                   the fraction of the total Net Settlement Amount which is calculated in step 4.

        6.3.3    No amount shall be distributed to an Authorized Former Participant or Zero
                 Account Balance Current Participant that is ten dollars ($10.00) or less, because
                 such an amount is de minimis and would cost more in processing than its value.

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                All such amounts shall be retained in the Qualified Settlement Fund for
                distribution under Paragraph 6.13.

        6.3.4   The Settlement Administrator shall determine the total settlement payment
                available to each Current Participant and Authorized Former Participant by
                calculating each such participant’s share of the Net Settlement as set forth
                above.

        6.3.5   The Settlement Administrator shall complete all payment calculations for all
                Current Participants and Authorized Former Participants within thirty (30)
                business days after the Settlement Effective Date.

        6.3.6   The Settlement Administrator shall utilize the calculations required to be
                performed herein for (a) making the required payments to Current Participants
                and Authorized Former Participants under Paragraphs 6.5, 6.6, and 6.7 of the
                Settlement Agreement; and (b) instructing the Plans as to the amounts to be
                distributed to the Current Participants under Paragraph 6.4 of the Settlement
                Agreement and calculating the total amount to deposit into each Current
                Participant’s Active Account(s) to fulfill this instruction.

        6.3.7   The total amount of all checks to be written by the Settlement Administrator
                plus the total amount of all credits that the Plans are instructed to make to
                Current Participants may not exceed the Net Settlement Amount. Nothing in this
                Paragraph is intended to modify the requirements of Paragraph 6.8 below. If the
                Settlement Administrator determines that the Plan of Allocation would
                otherwise require payments exceeding the Net Settlement Amount, the
                Settlement Administrator is authorized to make such changes as are necessary to
                the Plan of Allocation such that said totals do not exceed the Net Settlement
                Amount.

        6.3.8   The Released Parties shall not have any responsibility for or liability whatsoever
                with respect to the Plan of Allocation, including, but not limited to, the
                determination of the Plan of Allocation or the reasonableness of the Plan of
                Allocation.

  6.4     Payments to Current Participants. Current Participants will not be required to
          submit a Former Participant Claim Form to receive a settlement payment.

        6.4.1   Within two (2) business days after the Settlement Administrator has completed
                all payment calculations for all Current Participants, the Settlement
                Administrator will provide notice to Defendants and send to each of the Plans’
                recordkeepers an Excel spreadsheet containing the name, Social Security
                number, and the amount of the settlement payment to be made by that
                recordkeeper into the Active Account(s) for each Current Participant.

        6.4.2   Within five (5) business days after the Settlement Administrator provides the
                Current Participant information detailed in Paragraph 6.4.1 to each of the Plans’
                recordkeepers, the recordkeepers will provide the Settlement Administrator a list
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                of which Current Participants (if any) is a Zero Account Balance Current
                Participant.

        6.4.3   Thereafter, within ten (10) business days’ written notice to Defendants (or its
                designee) as provided in Paragraph 6.4.1, the Settlement Administrator shall
                effect a transfer from the Qualified Settlement Fund to each of the Plans’
                recordkeepers of the aggregate amount of all settlement payments payable to
                Current Participants with that recordkeeper, as reflected in the spreadsheets
                provided by the Settlement Administrator, less the amount of all settlement
                payments payable to Zero Account Balance Current Participants.

        6.4.4   Defendants (or their designee) shall direct the Plans’ recordkeepers to credit the
                individual Active Account(s) of each Current Participant who is not a Zero
                Account Balance Current Participant in an amount equal to that stated on the
                spreadsheets provided by the Settlement Administrator in relation to such
                Current Participant.

        6.4.5   The settlement payment for each Current Participant who is not a Zero Account
                Balance Current Participant with each recordkeeper will be invested in
                accordance with and proportionate to such Current Participant’s investment
                elections then on file for new contributions with that recordkeeper. If there is no
                investment election for new contributions on file for any Current Participant
                who is not a Zero Account Balance Current Participant with a recordkeeper,
                then such Current Participant shall be deemed to have directed such payment to
                be invested in the relevant Plan’s “Qualified Default Investment Alternative” as
                defined in 29 C.F.R. § 2550.404c-5.

        6.4.6   The Plans’ recordkeepers shall process all Plan of Allocation transactions for
                Current Participants who are not Zero Account Balance Current Participants
                within thirty (30) calendar days of receiving direction from Defendants (or its
                designee) for any such Current Participant.

  6.5     Payments to Zero Account Balance Current Participants. For each Zero Account
          Balance Current Participant, the Settlement Administrator shall issue a check from the
          Qualified Settlement Fund and mail the check to the address of the Zero Account
          Balance Current Participant then on file. Zero Account Balance Current Participants
          need not complete a Former Participant Claim Form. The checks shall be issued within
          the same timing as Paragraph 5.8.

        6.5.1   For each check issued, the Settlement Administrator shall (a) calculate and
                withhold any applicable taxes associated with the payments allocable to the
                Current Participant; (b) report such payments and remit such tax withholdings to
                the Internal Revenue Service and applicable state revenue agents; and (c) issue
                appropriate tax forms to the Current Participant.

  6.6     Payments to Authorized Former Participants. The Former Participant Claim Form
          shall advise the Authorized Former Participant that any distribution in accordance with

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          the Settlement may be rollover eligible and of their right to rollover such an amount. If
          the Authorized Former Participant elects to treat the Settlement Distribution as a
          rollover, the Settlement Administrator shall follow proper rollover instructions
          provided by the Authorized Former Participant. Neither the Released Parties, Defense
          Counsel, nor Class Counsel shall have any responsibility for or liability whatsoever
          with respect to any tax advice given to the Authorized Former Participants or the
          Current Participants.

  6.7     For each Authorized Former Participant, the Settlement Administrator will issue a
          single check from the Qualified Settlement Fund and mail the check to the address of
          such Authorized Former Participant listed in his or her Former Participant Claim Form
          or, in the case of ambiguity or uncertainty, to the address of such person as determined
          by the Settlement Administrator using commercially reasonable means. The check
          shall be issued as follows:

        6.7.1   For each check issued, the Settlement Administrator shall (a) calculate and
                withhold any applicable taxes associated with the payments allocable to the
                Authorized Former Participant; (b) report such payments and remit such tax
                withholdings to the Internal Revenue Service and applicable state revenue
                agents; and (c) issue appropriate tax forms to the Authorized Former
                Participants.

        6.7.2   The Settlement Administrator shall advise the Authorized Former Participant
                that any distribution in accordance with the Settlement is rollover eligible and of
                their right to rollover such an amount and shall follow proper rollover
                instructions provided by the Authorized Former Participant.

  6.8     This Plan of Allocation is based upon preliminary data regarding the Class Members
          who may be entitled to settlement payments. If the Settlement Administrator
          concludes that it is impracticable to implement any provision of this Plan of
          Allocation, the Settling Parties will modify promptly the terms of this Plan of
          Allocation and present such modified terms, first, to the Independent Fiduciary for its
          review and approval and, second, to the Court for its approval. Direct mailed or
          electronic notice to Class Members of such proposed modification of the Plan of
          Allocation shall not be required. However, notice of such proposed modification shall
          be posted on the Settlement Website within five (5) business days of the date that the
          proposed modification is submitted to the Court for its approval. If the proposed
          modification is implemented, notice of such modification shall be posted on the
          Settlement Website within five (5) business days of the date that the Court approves
          the modification.

        6.8.1   The Settlement Administrator shall be solely responsible for performing any
                calculations required by this Plan of Allocation.

  6.9     Within ten (10) business days of completing all aspects of this Plan of Allocation, the
          Settlement Administrator shall send to Class Counsel, Defense Counsel, and
          Defendants one or more affidavits stating the following: (a) the name of each Class

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         Member to whom the Settlement Administrator sent the Settlement Notice or the
         Former Participant Claim Form, and the address of such mailing; (b) the date(s) upon
         which the Settlement Administrator sent the Settlement Notice or the Former
         Participant Claim Form; (c) the name of each Class Member whose Settlement Notice
         or Former Participant Claim Form was returned as undeliverable; (d) the efforts made
         by the Settlement Administrator to find the correct address and to deliver the
         Settlement Notice or Former Participant Claim Form for each such Class Member; and
         (e) the name of each Class Member to whom the Settlement Administrator made a
         distribution from the Net Settlement Amount, together with the amount of the
         distribution, the name of the payee, the date of distribution, the amount of tax
         withholdings, if applicable, and the date of remittance of tax withholdings to the
         appropriate tax authority, if applicable. These affidavits and the accompanying
         information shall be considered “Confidential” under the terms of the Protective
         Order.

  6.10   The Settling Parties acknowledge that any payments to Class Members or their
         attorneys may be subject to applicable tax laws. Defendants, Defense Counsel, Class
         Counsel, and Class Representatives will provide no tax advice to the Class Members
         and make no representation regarding the tax consequences of any of the settlement
         payments described in this Settlement Agreement. To the extent that any portion of
         any settlement payment is subject to income or other tax, the recipient of the payment
         shall be responsible for payment of such tax. Deductions will be made, and reporting
         will be performed by the Settlement Administrator, as required by law in respect of all
         payments made under the Settlement Agreement. Payments from the Qualified
         Settlement Fund shall not be treated as wages by the Settling Parties.

  6.11   Each Class Member, Beneficiary, or Alternate Payee who receives a payment under
         this Settlement Agreement shall be fully and ultimately responsible for payment of any
         and all federal, state, or local taxes resulting from or attributable to the payment
         received by such person. Each such Class Member, Beneficiary, or Alternate Payee
         shall hold the Released Parties, Defense Counsel, Class Counsel, and the Settlement
         Administrator harmless from any tax liability, including penalties and interest, related
         in any way to payments under the Settlement Agreement, and shall hold the Released
         Parties, Defense Counsel, Class Counsel, and the Settlement Administrator harmless
         from the costs (including, for example, attorneys’ fees and disbursements) of any
         proceedings (including, for example, investigation and suit), related to such tax
         liability.

  6.12   All checks issued in accordance with this Plan of Allocation shall expire no later than
         one hundred twenty (120) calendar days after their issue date. All checks that are
         undelivered or are not cashed before their expiration date shall revert to the Qualified
         Settlement Fund.

  6.13   No sooner than thirty (30) calendar days following the end of the Settlement Period,
         any Net Settlement Amount remaining in the Qualified Settlement Fund after
         distributions, including costs, taxes and interest-earned on the Qualified Settlement
         Fund, shall be paid to the Plans for the purpose of defraying administrative fees and

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             expenses of the Plans that would otherwise be charged to the Plans’ participants. In no
             event shall any part of the Settlement Fund be used to reimburse Defendants or
             otherwise offset settlement related costs incurred by Defendants. Once payment is
             complete, Notice will be sent to Class Counsel and Defense Counsel according to
             Paragraph 12.22.

7.         Article 7 – Attorneys’ Fees and Costs

     7.1     Class Counsel intends to seek to recover their attorneys’ fees, with the amount sought
             not to exceed $4,350,000. Class counsel also intends to seek litigation costs and
             expenses advanced and carried by Class Counsel for the duration of this litigation,
             with the amount sought not to exceed $1,500,000, which amounts Class Counsel shall
             seek to be recovered from the Gross Settlement Amount. Class Counsel also intends to
             seek Class Representatives’ Compensation, in an amount not to exceed $25,000 per
             Class Representative.

     7.2     Class Counsel will file a motion for an award of Attorneys’ Fees and Costs, as well as
             any requests for Class Representatives’ Compensation, at least thirty (30) days before
             the deadline set in the Preliminary Order for objections to the proposed settlement,
             which may be supplemented thereafter.

8.         Article 8 – Release and Covenant Not to Sue

     8.1     Upon the effective date of the Settlement Agreement, Plaintiffs, all Class Members
             (and each of their heirs, estates, trustees, principals, beneficiaries, guardians,
             executors, administrators, representatives, agents, attorneys, partners, successors,
             predecessors-in-interest, and assigns and/or anyone claiming through them or acting or
             purporting to act for them or on their behalf), and the Plan (“Releasing Parties”)
             (subject to Independent Fiduciary approval as required by Paragraph 3.1) shall be
             deemed to have, and by operation of the final approval order and final judgment in this
             Action shall have, fully, finally and forever released, relinquished, and discharged any
             and all claims, demands, rights, damages, arbitrations, liabilities, obligations, suits,
             debts, liens, and causes of action pursuant to any theory of recovery (including, but not
             limited to, those based in contract or tort, common law or equity, federal state, or local
             law, statute, ordinance, or regulation) of every nature and description whatsoever,
             ascertained or unascertained, suspected or unsuspected, existing or claimed to exist,
             including unknown claims as of the Notice Date by all of the Releasing Parties that are
             based on the facts alleged in the Operative Complaint in the Action (“Released
             Claims”) or that would be barred by the principles of res judicata or collateral estoppel
             had the claims been asserted in the Operative Complaint against Defendants as well as
             all Defendants’ current and former directors, officers, members, administrators,
             agents, insurers, beneficiaries, trustees, employee benefit plans, representatives,
             servants, employees, attorneys, parents, subsidiaries, divisions, branches, units,
             shareholders, investors, successors, predecessors, and assigns, and all other individual
             entities acting on Defendants’ behalf (“Released Parties”). “Released Claims”
             specifically excludes claims of individual denial of benefits under ERISA
             § 502(a)(1)(B) other than claims for benefits under the Plan prior to or during the

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        Class Period, as well as wages, labor, or employment claims based on the facts alleged
        in the operative complaint in the Action.



  8.2   The Released Claims shall be construed as broadly as possible to effect complete
        finality over this Action.

  8.3   After entering into this Settlement Agreement, the Parties may discover facts other
        than, different from, or in addition to, those that they know or believe to be true with
        respect to the claims released by this Settlement Agreement. The Released Claims
        include known and unknown claims based on the facts alleged in the Operative
        Complaint in the Action or that would be barred by the principles of res judicata or
        collateral estoppel had the claims been asserted in the Operative Complaint, including
        all rights of allocation thereunder. Plaintiffs, the Class Members, and the Plan, hereby
        expressly, knowingly, and voluntarily waive any and all provisions, rights, and
        benefits conferred by California Civil Code Section 1542 and any statute, rule, and
        legal doctrine similar, comparable, or equivalent to California Civil Code Section
        1542, which provides as follows:

            A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
            CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER
            FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN
            BY HIM OR HER MUST HAVE MATERIALLY AFFECTED HIS OR HER
            SETTLEMENT WITH THE DEBTOR.

        In connection with such waiver and relinquishment, Plaintiffs, the Class Members, and
        the Plan hereby acknowledge that they are aware that they or their attorneys may
        hereafter discover claims or facts in addition to or different from those that they now
        know or believe exist with respect to the Released Claims, but that it is their intention
        to hereby fully, finally, and forever settle and release all of the Released Claims
        known or unknown, suspected or unsuspected, that they have against the Released
        Parties.

  8.4   In furtherance of such intention, the Release herein given by Plaintiffs, the Class
        Members, and the Plan to the Released Parties shall be and remain in effect as a full
        and complete general release notwithstanding the discovery or existence of any such
        additional different claims or facts. Plaintiffs acknowledge, and the Class Members
        and the Plan shall be deemed by operation of the Final Judgment to have
        acknowledged, that they have been advised by his/her/its attorney of the contents and
        effect of Section 1542, and with knowledge, hereby expressly waive whatever benefits
        he/she/it may have had pursuant to such section. Plaintiffs acknowledge, and the Class
        Members and the Plan shall be deemed by operation of the Final Judgment to have
        acknowledged, that the foregoing waiver was separately bargained for and a material
        element of the Settlement of which this Release is a part.




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     8.5      Upon the Effective Date: (a) the Settlement Agreement shall be the exclusive remedy
              for any and all Released Claims of Plaintiffs, Class Members, and the Plan; and
              (b) Plaintiffs, the Class Members, and the Plan stipulate to be and shall be permanently
              barred and enjoined by Court order from initiating, asserting, or prosecuting against
              the Released Parties in any federal or state court or tribunal any and all Released
              Claims. The Court’s failure or refusal to enter the requested injunction is not grounds
              to terminate the settlement or otherwise alter any term of the settlement.

9.          Article 9 – Representations and Warranties

     9.1      The Settling Parties represent:

            9.1.1   That they are voluntarily entering into this Settlement Agreement as a result of
                    arm’s length negotiations among their counsel, and that in executing this
                    Settlement Agreement they are relying solely upon their own judgment, belief,
                    and knowledge, and upon the advice and recommendations of their own
                    independently selected counsel, concerning the nature, extent, and duration of
                    their rights and claims hereunder and regarding all matters that relate in any way
                    to the subject matter hereof;

            9.1.2   That they assume the risk of mistake as to facts or law;

            9.1.3   That they recognize that additional evidence may have come to light, but that
                    they nevertheless desire to avoid the expense and uncertainty of litigation by
                    entering into the Settlement;

            9.1.4   That they have read carefully the contents of this Settlement Agreement, and this
                    Settlement Agreement is signed freely by each individual executing this
                    Settlement Agreement on behalf of each of the Settling Parties; and

            9.1.5   That they have made such investigation of the facts pertaining to the Settlement
                    and all matters pertaining thereto, as they deem necessary.

     9.2      Each individual executing this Settlement Agreement on behalf of a Settling Party
              does hereby personally represent and warrant to the other Settling Parties that he/she
              has the authority to execute this Settlement Agreement on behalf of, and fully bind,
              each principal that each such individual represents or purports to represent.

10.         Article 10 – Additional Terms

     10.1     The Settlement Period will extend for three years from the Settlement Effective Date
              during which Defendants will comply with the terms set forth herein.

     10.2     USC will instruct the then-current recordkeeper(s) of the Plans in writing within sixty
              (60) calendar days of the Settlement Effective Date that, in performing contracted
              recordkeeping services with respect to the Plans, the recordkeeper shall not use
              information received as a result of providing the contracted services to the Plans
              and/or the Plans’ participants, to solicit the Plans’ current participants for the purpose

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           of cross-selling non-Plan products and services, including but not limited to,
           Individual Retirement Accounts, non-Plan managed account services, life or disability
           insurance, investment products, and wealth management services, unless in response
           to a request by a Plan participant. Nothing in this provision shall preclude USC from
           authorizing a Plan vendor to provide retirement planning services related to the
           participant’s investments within the Plans and other assets identified by the
           participant;

  10.3     Within one-hundred and eighty (180) days of the Settlement Effective Date, USC will
           conduct a request for proposals for recordkeeping and administrative services, to be
           managed by its investment consultant. The requests for proposals shall be made to at
           least three qualified service providers for administrative and recordkeeping services
           for the Plans, each of which should have experience providing recordkeeping and
           administrative services to plans of similar size and complexity. The requests for
           proposals shall request that the service providers respond on the basis of different
           alternative recordkeeping structures, including (but need not be limited to) that of a
           single recordkeeping structure. The requests for proposals shall request that any
           proposal provided by a service provider for recordkeeping services to the Plans
           include (but need not be limited to) an expression of fees in a manner that is not based
           on a percentage of the Plans’ assets but on a total fixed fee and on a per-participant
           basis. Proposals regarding additional services beyond recordkeeping and
           administrative services need not be included within the responses to the requests for
           proposals described above. USC will agree to provide notice to Class Counsel of its
           decision resulting from the requests for proposals with 30 days of that decision. If
           USC maintains the current three recordkeeper structure, it shall ask for each current
           recordkeeper to provide a per-participant fee or fee cap to evaluate against any asset-
           based fee arrangement;

  10.4     USC will continue to provide annual training to the Plans’ fiduciaries regarding their
           fiduciary duties under ERISA;

  10.5     USC will continue using a qualified investment consultant; and

  10.6     The USC Retirement Plan Oversight Committee will continue to meet consistent with
           the terms established in the Retirement Plan Oversight Committee Charter dated
           March 2, 2016.

11.      Article 11 – Termination, Conditions of Settlement, and Effect of Disapproval,
         Cancellation, or Termination

  11.1     The Settlement Agreement shall automatically terminate, and thereby become null and
           void with no further force or effect if:

         11.1.1   Pursuant to Paragraph 3.1, (a) the Independent Fiduciary does not approve the
                  Settlement Agreement or disapproves the Settlement Agreement for any reason
                  whatsoever, or (b) the Plan Fiduciaries reasonably conclude that the Independent
                  Fiduciary’s approval does not include the determinations required by PTE 2003-

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                  39; and in the case of (a) or (b), (c) the Settling Parties do not mutually agree to
                  modify the terms of this Settlement Agreement to facilitate an approval by the
                  Independent Fiduciary or the Independent Fiduciary’s determinations required
                  by PTE 2003-39 such that (a) and (b) no longer apply;

         11.1.2   The Preliminary Order and the Final Order are not entered by the Court in
                  substantially the same form submitted by the Settling Parties or in a form which
                  is otherwise agreed to by the Settling Parties;

         11.1.3   This Settlement Agreement is disapproved by the Court or fails to become
                  effective for any reason whatsoever; or

         11.1.4   The Preliminary Order or Final Order is finally reversed on appeal, or is
                  modified on appeal, and the Settling Parties do not mutually agree to any such
                  modifications.

  11.2     If the Settlement Agreement is terminated, deemed null and void, or has no further
           force or effect, the Class Action and the Released Claims asserted by Class
           Representatives shall for all purposes with respect to the Settling Parties revert to their
           status as though the Settling Parties never executed the Settlement Agreement. All
           funds deposited in the Qualified Settlement Fund, and any interest earned thereon,
           shall be returned first to each insurer which contributed funds to the settlement, in the
           amount of its contribution and the accrued interest thereon, and then to Defendants or
           their representatives to the extent of any remaining amount not contributed by the
           insurers, within thirty (30) calendar days after the Settlement Agreement is finally
           terminated or deemed null and void, except as provided for in Paragraph 11.4.

  11.3     It shall not be deemed a failure to approve the Settlement Agreement if the Court
           denies, in whole or in part, Class Counsel’s request(s) for Attorneys’ Fees and Costs
           and/or Class Representatives’ Compensation.

  11.4     In the event that the Settlement Agreement is terminated, Administrative Expenses
           incurred prior to the termination shall be paid first from the interest earned, if any, on
           the Qualified Settlement Fund, to the extent not otherwise distributed pursuant to
           Paragraph 11.2. Administrative Expenses in excess of the interest earned on the
           Qualified Settlement Fund shall be split evenly and paid by Class Counsel, on the one
           hand, and Defendants, on the other hand.

12.      Article 12 – General Provisions

  12.1     The Settling Parties, Class Counsel, and Defense Counsel agree to keep confidential
           all positions, assertions, and offers made during settlement negotiations relating to the
           Class Action and the Settlement Agreement, except that they may discuss the
           negotiations with the Independent Fiduciary, the Settling Parties’ tax and accounting
           advisors, and for purposes of recovery of insurance, provided in each case that they
           secure written agreements with such persons or entities that such information shall not
           be further disclosed.


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  12.2   The Settling Parties, Class Counsel, and Defense Counsel agree to keep confidential
         the terms of the Settlement Agreement until the filing of the motion for preliminary
         approval of the Settlement Agreement, as discussed in Paragraph 3.2. This provision
         shall not be construed to prohibit Class Counsel or Defense Counsel from discussing
         the terms of the Settlement Agreement with the Settlement Administrator or
         Independent Fiduciary (or a potential independent fiduciary) prior to the date on which
         the motion for preliminary approval is filed.

  12.3   The Settlement Administrator shall establish a Settlement Website on which it will
         post the following documents or links to the following documents on or following the
         date of the Preliminary Order: Complaint, Settlement Agreement and its Exhibits,
         Settlement Notice, Former Participants Claim Form, Class Representatives’ Motion
         for Attorneys’ Fees and Costs and Award of Compensation to Class Representatives,
         any Court orders related to the Settlement, any amendments or revisions to these
         documents, and any other documents or information mutually agreed upon by the
         Settling Parties (“Settlement Website Information”). No other information or
         documents will be posted on the Settlement Website unless agreed to by the Settling
         Parties in writing. The Settlement Administrator will take down the Settlement
         Website no later than one year after the Settlement Effective Date or thirty (30)
         calendar days after the receipt of the affidavit(s) referenced in Paragraph 6.9,
         whichever is earlier.

  12.4   The Settling Parties agree to cooperate fully with each other in seeking Court
         approvals of the Preliminary Order and the Final Order, and to do all things as may
         reasonably be required to effectuate preliminary and final approval and the
         implementation of this Settlement Agreement according to its terms. The Settling
         Parties agree to provide each other with copies of any filings necessary to effectuate
         this Settlement at least five (5) business days in advance of filing.

  12.5   This Settlement Agreement, whether or not consummated, and any negotiations or
         proceedings hereunder are not, and shall not be construed as, deemed to be, or offered
         or received as evidence of an admission by or on the part of Defendants or any
         Released Party of any wrongdoing, fault, or liability whatsoever of Defendants or any
         Released Party, or give rise to any inference of any wrongdoing, fault, or liability or
         admission of any wrongdoing, fault, or liability in the Class Action or any other
         proceeding, and Defendants expressly deny and disclaim any such wrongdoing, fault,
         or liability, and deny each and every claim asserted in the Class Action. Defendants
         contend that the Plans have been managed, operated, and administered at all relevant
         times in accordance with ERISA. This Settlement Agreement, whether or not
         consummated, and any negotiations or proceedings hereunder, shall not constitute
         admissions of any liability of any kind, whether legal or factual. Subject to Federal
         Rule of Evidence 408, the Settlement and the negotiations related to it are not
         admissible as substantive evidence, for purposes of impeachment, or for any other
         purpose.

  12.6   Neither the Settling Parties, Class Counsel, nor Defense Counsel shall have any
         responsibility for or liability whatsoever with respect to (i) any act, omission, or

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           determination of the Settlement Administrator, or any of their respective designees or
           agents, in connection with the administration of the Gross Settlement Amount or
           otherwise; (ii) the determination of the Independent Fiduciary; (iii) the management,
           investment, or distribution of the Qualified Settlement Fund; (iv) the Plan of
           Allocation as approved by the Court; (v) the determination, administration,
           calculation, or payment of any claims asserted against the Qualified Settlement Fund;
           (vi) any losses suffered by, or fluctuations in the value of, the Qualified Settlement
           Fund; or (vii) the payment or withholding of any taxes, expenses, and/or costs incurred
           in connection with the taxation of the Qualified Settlement Fund or tax reporting, or
           the filing of any returns. Further, neither Defendants nor Defense Counsel shall have
           any responsibility for, or liability whatsoever with respect to, any act, omission, or
           determination of Class Counsel in connection with the administration of the Gross
           Settlement Amount or otherwise.

  12.7     Only Class Counsel shall have standing to seek enforcement of this Settlement
           Agreement on behalf of Plaintiffs and Class Members. Any individual concerned
           about Defendants’ compliance with this Settlement Agreement may so notify Class
           Counsel and direct any requests for enforcement to them. Class Counsel shall have the
           full and sole discretion to take whatever action they deem appropriate, or to refrain
           from taking any action, in response to such request. Class Counsel shall provide the
           monitoring necessary to assure compliance with the Settlement Agreement and any
           action to enforce the Settlement Agreement during the Settlement Period without
           additional fee or reimbursement of expenses beyond the Attorneys’ Fees and Costs
           determined by the Court.

  12.8     This Settlement Agreement shall be interpreted, construed, and enforced in accordance
           with applicable federal law and, to the extent that federal law does not govern,
           California law.

  12.9     Class Counsel, Defense Counsel, and the Settling Parties agree that any and all
           disputes concerning compliance with the Settlement Agreement shall be exclusively
           resolved as follows:

         12.9.1   If a Settling Party has reason to believe that a legitimate dispute exists
                  concerning the Settlement Agreement, other than any and all disputes
                  concerning compliance with Article 8, the party raising the dispute shall first
                  promptly give written notice under the Settlement Agreement to the other party
                  including in such notice: (a) a reference to all specific provisions of the
                  Settlement Agreement that are involved; (b) a statement of the alleged non-
                  compliance; (c) a statement of the remedial action sought; and (d) a brief
                  statement of the specific facts, circumstances, and any other arguments
                  supporting the position of the party raising the dispute;

         12.9.2   Within twenty-one (21) calendar days after receiving the notice described in
                  Paragraph 12.9.1, the receiving party shall respond in writing with its position
                  and the facts and arguments it relies on in support of its position;


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      12.9.3   For a period of not more than twenty-one (21) calendar days following mailing
               of the response described in Paragraph 12.9.2, the Settling Parties shall
               undertake good-faith negotiations, which may include meeting in person or
               conferring by telephone, to attempt to resolve the dispute;

      12.9.4   If the dispute is not resolved during the period described in Paragraph 12.9.3, the
               Settling Parties shall conduct a mediation of the dispute with the Mediator on
               the earliest reasonably practicable date; provided, however, that the scope of
               such mediation shall be expressly limited to the dispute;

      12.9.5   The Settling Parties intend to resolve any disputes quickly, expeditiously, and
               inexpensively. Accordingly, there shall be no discovery allowed in connection
               with mediation under Paragraphs 12.9.4, and no witnesses shall be presented or
               examined during the mediation. The Mediator will make his recommendation
               based solely on the papers, documents, testimony, and arguments of counsel
               presented to him.

      12.9.6   In any mediation under Paragraphs 12.9.4, each Settling Party shall bear its own
               fees and costs.

      12.9.7   If the dispute is not resolved through mediation, either Settling Party may
               request that the Court resolve the dispute.

  12.10 The Settling Parties agree that the Court has personal jurisdiction over the Class and
        Defendants under ERISA and shall maintain that jurisdiction for purposes of resolving
        any disputes concerning compliance with this Settlement Agreement. Any requests for
        the Court’s assistance to resolve any such disputes may be submitted to the Court
        and/or asserted in response to any claim asserting a violation of the Settlement
        Agreement pursuant to the terms of 12.9. Any motion or action to enforce this
        Settlement Agreement may be filed in the U.S. District Court for the Central District
        of California, or asserted by way of an affirmative defense or counterclaim in response
        to any action asserting a violation of the Settlement Agreement.

  12.11 The Settlement Agreement may be executed by exchange of executed signature pages,
        and any signature transmitted by facsimile or e-mail attachment of scanned signature
        pages for the purpose of executing this Settlement Agreement shall be deemed an
        original signature for purposes of this Settlement Agreement. The Settlement
        Agreement may be executed in any number of counterparts, and each of such
        counterparts shall for all purposes be deemed an original, and all such counterparts
        shall together constitute the same instrument.

  12.12 Each party to this Settlement Agreement hereby acknowledges that he, she, or it has
        consulted with and obtained the advice of counsel prior to executing this Settlement
        Agreement and that this Settlement Agreement has been explained to that party by his,
        her, or its counsel.

  12.13 The headings included in this Settlement Agreement are for convenience only and do
        not in any way limit, alter, or affect the matters contained in this Settlement
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         Agreement or the Articles or Paragraphs they caption. References to a person are also
         to the person’s permitted successors and assigns, except as otherwise provided herein.
         Whenever the words “include,” “includes” or “including” are used in this Settlement
         Agreement, they shall not be limiting but shall be deemed to be followed by the words
         “without limitation.”

  12.14 Before entry of the Preliminary Approval Order and approval of the Independent
        Fiduciary, this Settlement Agreement may be modified or amended only by written
        agreement signed by or on behalf of all Settling Parties. Following approval by the
        Independent Fiduciary, this Settlement Agreement may be modified or amended only
        if such modification or amendment is set forth in a written agreement signed by or on
        behalf of all Settling Parties and only if the Independent Fiduciary approves such
        modification or amendment in writing. Following entry of the Preliminary Approval
        Order, this Settlement Agreement may be modified or amended only by written
        agreement signed on behalf of all Settling Parties, and only if the modification or
        amendment is approved by the Independent Fiduciary in writing and approved by the
        Court.

  12.15 This Settlement Agreement and the exhibits attached hereto constitute the entire
        agreement among the Settling Parties and no representations, warranties, or
        inducements have been made to any party concerning the Settlement other than those
        contained in this Settlement Agreement and the exhibits thereto.

  12.16 The provisions of this Settlement Agreement may be waived only by an instrument in
        writing executed by the waiving party and specifically waiving such provisions. The
        waiver of any breach of this Settlement Agreement by any party shall not be deemed
        to be or construed as a waiver of any other breach or waiver by any other party,
        whether prior, subsequent, or contemporaneous, of this Settlement Agreement.

  12.17 Each of the Settling Parties agrees, without further consideration, and as part of
        finalizing the Settlement hereunder, that it will in good faith execute and deliver such
        other documents and take such other actions as may be necessary to consummate and
        effectuate the subject matter of this Settlement Agreement.

  12.18 All of the covenants, representations, and warranties, express or implied, oral or
        written, concerning the subject matter of this Settlement Agreement are contained in
        this Settlement Agreement. No party is relying on any oral representations or oral
        agreements. No extrinsic evidence or parol evidence shall be used to interpret,
        explain, construe, contradict, or clarify this Settlement Agreement, its terms, the intent
        of the parties or their counsel, or the circumstances under which this Settlement
        Agreement was made or executed. This Settlement Agreement supersedes all prior
        negotiations and agreements. The Parties expressly agree that the terms and
        conditions of this Settlement Agreement will control over any other written or oral
        agreements. All such covenants, representations, and warranties set forth in this
        Settlement Agreement shall be deemed continuing and shall survive the Effective Date
        of Settlement.


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  12.19 All of the exhibits attached hereto are incorporated by reference as though fully set
        forth herein. The exhibits shall be: Exhibit 1 – Former Participant Claim Form; Exhibit
        2 – Proposed Order Granting Preliminary Approval of Settlement; Exhibit 3 – Notice
        of Class Action Settlement and Fairness Hearing to Current Participants; Exhibit 4 –
        Notice of Class Action Settlement and Fairness Hearing to Former Participants;
        Exhibit 5 – Proposed Final Approval Order and Judgement; and Exhibit 6 – CAFA
        Notice.

  12.20 No provision of the Settlement Agreement or of the exhibits attached hereto shall be
        construed against or interpreted to the disadvantage of any party to the Settlement
        Agreement because that party is deemed to have prepared, structured, drafted, or
        requested the provision.

  12.21 The Parties to this Action or any other Released Parties shall have the right to file the
        Settlement Agreement and/or the Final Approval Order and Final Judgment in any
        action that may be brought against them in order to support a defense or counterclaim
        based on principles of res judicata, collateral estoppel, release, good-faith settlement,
        judgment bar, reduction, or any other theory of claim preclusion or issue preclusion
        and/or similar defense or counterclaim.

  12.22 Unless otherwise noted, all references to “days” in this Settlement Agreement shall be
        to calendar days. In the event any date or deadline set forth in this Settlement
        Agreement falls on a weekend or federal legal holiday, such date or deadline shall be
        on the first business day thereafter.

  12.23 Any notice, demand, or other communication under this Settlement Agreement (other
        than the Settlement Notice, or other notices given at the direction of the Court) shall be
        in writing and shall be deemed duly given upon receipt if it is addressed to each of the
        intended recipients as set forth below and personally delivered, sent by registered or
        certified mail postage prepaid, or delivered by reputable express overnight courier:

      IF TO THE CLASS REPRESENTATIVES:

      Jerome J. Schlichter (jschlichter@uselaws.com)
      Michael A. Wolff (mwolff@uselaws.com)
      Joel D. Rohlf (jrohlf@uselaws.com)
      Victoria C. St. Jean (vstjean@uselaws.com)

      SCHLICHTER BOGARD & DENTON
      100 South Fourth St., Suite 1200
      St. Louis, Missouri 63102
      Tel: (314) 621-6115
      Fax: (314) 621-5934




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        IF TO DEFENDANTS:

        Christopher Chorba (cchorba@gibsondunn.com)
        Heather Richardson (hrichardson@gibsondunn.com)

        GIBSON DUNN & CRUTCHER LLP
        333 S. Grand Avenue
        Los Angeles, CA 90071
        Tel: (213) 229-7000
        Fax: (213) 229-6409



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ON BEHALF OF PLAINTIFFS, Allen Munro, Daniel Wheeler, Jane Singleton, Sarah
Wohlgemuth, Rebecca Snyder, Dion Dickman, Corey Clark, and Steven Olson, Individually and
as Representatives of the Class:



Dated: February 23, 2023

                                         SCHLICHTER BOGARD & DENTON LLP




                                         Jerome J. Schlichter
                                         Michael A. Wolff
                                         Joel D. Rohlf
                                         Victoria C. St. Jean
                                         100 South Fourth Street, Suite 1200
                                         St. Louis, MO 63102
                                         Tel: (314) 621-6115
                                         Fax: (314) 621-5934

                                         Attorneys for Plaintiffs and Class Representatives




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                                              [INSERT SETTLEMENT ADMINISTRATOR]
                                                       [INSERT ADDRESS]
                                                        [INSERT WEBSITE]

                                             FORMER PARTICIPANT CLAIM FORM


            ABC1234567890                                                             Claim Number: 1111111
            *ABC1234567890*
            JOHN Q CLASS MEMBER
            123 MAIN ST
            APT 1
            ANYTOWN, ST 12345


This Former Participant Claim Form is ONLY for Class Members who are Former Participants, or the beneficiaries, alternate
payees or attorneys-in-fact of Former Participants (all of whom will be treated as Former Participants). A Former Participant is a
Class Member who did not have a plan account with a balance greater than $0 as of December 31, 2022.
This form must be completed, signed and filed electronically through the claims portal at [INSERT] by                , 2023 or
mailed with a postmark date no later than                , 2023 to the Settlement Administrator in order for you to receive your
share of the Settlement proceeds. Former Participants who do not complete and timely return this form will not receive any
Settlement payment. Please review the instructions below carefully. If you have questions regarding this Claim Form, you may
contact the Settlement Administrator as indicated below.

             ******************************************************************************************************************************
           PART 1: INSTRUCTIONS FOR COMPLETING FORMER PARTICIPANT CLAIM FORM
1.   Complete this claim form and keep a copy of all pages of your Former Participant Claim Form, including page 1 with the
     address label, for your records.

2.   Mail your completed Former Participant Claim Form postmarked no later than                                       , 2023 to the Settlement
     Administrator at the following address:
                                         [INSERT SETTLEMENT ADMINISTRATOR]
                                                   [INSERT ADDRESS]
     If you prefer to file your claim electronically, you may use the claims portal on the website [INSERT].
     It is your responsibility to ensure the Settlement Administrator has timely received your Former Participant Claim Form.
3.   Other Reminders:
       •    You must provide date of birth, signature and a completed Substitute IRS Form W-9, which is attached as Part 5 to this
            form.
       •    If you desire to do a rollover and you do not complete in full the rollover information in Part 4 Payment Election of the
            Settlement Distribution Form, payment will be made to the Former Participant.
       •    If you change your address after sending in your Former Participant Claim Form, please send your new address to the
            Settlement Administrator.
       •    Timing Of Payments To Eligible Settlement Class Members. Please note that Settlement payments are subject to
            the Settlement Agreement’s receiving final Court approval. If the Settlement Agreement is approved and if you are
            entitled to a Settlement payment under the terms of the Settlement, such payments will be distributed no earlier than
            late 2023 to early 2024 due to the need to process and verify information for all Settlement Class Members who are
            entitled to a payment and to compute the amount of each payment. Payments may be further delayed if any appeals
            are filed.
4.   Questions? If you have any questions about this Former Participant Claim Form, please call the Settlement Administrator
     at [INSERT]. The Settlement Administrator will provide advice only regarding completing this form and will not provide
     financial, tax or other advice concerning the Settlement. You therefore may want to consult with your financial or tax advisor.
     Information about the status of the approval of the Settlement, Settlement administration, and claim processing is available on
     the lawsuit website, [INSERT].




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You may be eligible to receive a payment from a class action settlement. The Court has preliminarily approved the class settlement
of Munro v. University of Southern California, Case No. 2:16-06191 (C.D. Cal.). That settlement provides allocation of monies to
the individual accounts of Settlement Class Members who had plan accounts with a positive balance in the University of Southern
California Defined Contribution Retirement Plan and the University of Southern California Tax-Deferred Annuity Plan (collectively
the “Plans”) as of December 31, 2022 (“Current Participants”). Settlement Class Members who are entitled to a distribution but
who did not have a plan account with a positive balance as of December 31, 2022 (“Former Participants”) will receive their
allocation in the form of a check or rollover if and only if they mail a valid Former Participant Claim Form postmarked no later than
               , 2023 to the Settlement Administrator. For more information about the Settlement, please see [INSERT], or call
[INSERT].
Because you are a Former Participant (or beneficiary of a Former Participant) in the Plans, you must decide whether you want
your payment (1) sent payable to you directly or (2) to be rolled over into another eligible retirement plan or into an individual
retirement account (“IRA”). To make that choice, please complete and mail this Former Participant Claim Form that is postmarked
no later than                   , 2023 to the Settlement Administrator. If you do not indicate a payment election, your payment will
be sent payable to you directly.
                                        PART 2: PARTICIPANT INFORMATION
First Name                                            Middle   Last Name


Mailing Address



City                                                                                                     State     Zip Code



Home Phone                                               Work Phone or Cell Phone



Participant’s Social Security Number                     Participant’s Date of Birth



Email Address                                              M M       D   D      Y      Y Y   Y




       Check here if you were a Former Participant but did not receive this Claim Form in the mail. This may be because you were a
       participant in the Plans only for a brief period.

            PART 3: BENEFICIARY OR ALTERNATE PAYEE INFORMATION (IF APPLICABLE)
       Check here if you are the surviving spouse or other beneficiary for the Former Participant and the Former Participant is
       deceased. Documentation must be provided showing current authority of the representative to file on behalf of the
       deceased. Please complete the information below and then continue on to Parts 4 and 5 on the next page.
       Check here if you are an alternate payee under a qualified domestic relations order (QDRO), or attorney-in-fact for the
       Former Participant. The Settlement Administrator may contact you with further instructions. Please complete the information
       below and then continue on to Parts 4 and 5 on the next page.
Your First Name                                       Middle Last Name



Your Social Security Number or Tax ID Number             Your Date of Birth


                                                          M M        D   D      Y      Y Y   Y
Your Mailing Address



City                                                                                                     State     Zip Code




                                  2
                                                                                                                          Exhibit 1
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                                             PART 4: PAYMENT ELECTION

     Payment to Self – A check subject to mandatory federal and applicable state withholding tax will be mailed to your address
     on the previous page.

     Direct Rollover to an Eligible Plan – Check only one box below and complete Rollover Information Section Below:

          Government 457(b)                                  401(a)/401(k)                          403(b)

          Direct Rollover to a Traditional IRA               Direct Rollover to a Roth IRA (subject to ordinary income tax)

Rollover Information:
Company or Trustee’s Name (to whom the check should be made payable)



Company or Trustee’s Mailing Address 1



Company or Trustee’s Mailing Address 2



Company or Trustee’s City                                                                                    State    Zip Code



Account Number                                                                                Company or Trustee’s Phone Number




                   PART 5: SIGNATURE, CONSENT, AND SUBSTITUTE IRS FORM W-9
UNDER PENALTIES OF PERJURY UNDER THE LAWS OF THE UNITED STATES OF AMERICA, I CERTIFY THAT ALL OF THE
INFORMATION PROVIDED ON THIS FORMER PARTICIPANT CLAIM FORM IS TRUE, CORRECT AND COMPLETE AND THAT
I SIGNED THIS FORMER PARTICIPANT CLAIM FORM.

1.   The Social Security number shown on this form is my correct taxpayer identification number (or I am waiting for a number to
     be issued to me); and
2.   I am not subject to backup withholding because: (a) I am exempt from backup withholding, or (b) I have not been notified by
     the Internal Revenue Service (IRS) that I am subject to backup withholding as a result of a failure to report all interest or
     dividends, or (c) the IRS has notified me that I am no longer subject to backup withholding; and
3.   I am a U.S. Person (including a U.S. resident alien).

                                                                                               M M       D D         Y Y Y Y


Participant Signature                                                                         Date Signed (Required)
NOTE: if you have been notified by the IRS that you are subject to backup withholding, you must cross out item 2 above. The IRS
does not require your consent to any provision of this document other than this Form W-9 certification to avoid backup withholding.


                QUESTIONS? VISIT: [INSERT], OR CALL [INSERT]




                                  3
                                                                                                                              Exhibit 1
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     9
    10                          UNITED STATES DISTRICT COURT
    11                         CENTRAL DISTRICT OF CALIFORNIA
                                     WESTERN DIVISION
    12
                                                 CASE NO. 2:16-cv-06191-VAP-E
    13    ALLEN MUNRO et al.,
                                                 [PROPOSED] ORDER GRANTING
    14                             Plaintiffs,   PRELIMINARY APPROVAL OF
           v.                                    CLASS ACTION SETTLEMENT
    15
          UNIVERSITY OF SOUTHERN
    16    CALIFORNIA et al.,
    17                             Defendants.
    18
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         No. 2:16-cv-06191-VAP-E                          [PROPOSED] ORDER GRANTING PRELIMINARY
                                                            APPROVAL OF CLASS ACTION SETTLEMENT



                                                                                      Exhibit 2
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     1           This litigation arises out of a class action alleging breaches of fiduciary duty
     2   and prohibited transactions against the University of Southern California and the
     3   USC Retirement Plan Oversight Committee (“Defendants”) under the Employee
     4   Retirement Income Security Act of 1974 (ERISA), as amended, 29 U.S.C. § 1001,
     5   et seq., with respect to their management, operation, and administration of the
     6   University of Southern California Defined Contribution Retirement Plan and the
     7   University of Southern California Tax-Deferred Annuity Plan (collectively the
     8   “Plans”). Defendants deny the allegations, claims, and contentions of the Class
     9   Representatives, deny that they are liable at all to the Settlement Class, and deny
    10   that the Settlement Class or the Plans have suffered any harm or damage for which
    11   Defendants could be held liable.
    12           In their Joint Motion for Preliminary Approval of Class Settlement, the
    13   Parties seek preliminary approval of a settlement of the claims asserted. The terms
    14   of the Settlement are set out in a Class Action Settlement Agreement dated
    15   February 23, 2023, executed by the Settling Parties and their counsel.
    16           The Court has considered the proposed Settlement under the standards of
    17   Federal Rule of Civil Procedure 23(e). For purposes of this Order, if not defined
    18   herein, capitalized terms have the definitions in the Settlement Agreement, which
    19   is incorporated herein by reference. Having reviewed the Settlement Agreement
    20   and the accompanying and supporting papers, it is ORDERED as follows:
    21      1.        Preliminary Findings Regarding Proposed Settlement:
    22           The Court preliminarily finds that:
    23           A.     The proposed settlement resulted from extensive arm’s-length
    24   negotiations;
    25           B.     The Settlement Agreement was executed only after Class Counsel had
    26   conducted extensive pre-settlement motion practice and discovery, and after
    27   negotiations, including in-person mediation sessions and numerous teleconference
    28
         No. 2:16-cv-06191-VAP-E                     -1-         [PROPOSED] ORDER GRANTING PRELIMINARY
                                                                   APPROVAL OF CLASS ACTION SETTLEMENT



                                                                                             Exhibit 2
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     1   mediation sessions and extensive telephonic and email communications with a
     2   skilled mediator, and on the eve of trial;
     3           C.     Class Counsel has concluded that the Settlement Agreement is fair,
     4   reasonable and adequate; and
     5           D.     The Settlement is sufficiently fair, reasonable, and adequate to
     6   warrant sending notice of the Settlement to the Class.
     7      2.        Fairness Hearing:
     8           A hearing is scheduled at the United States District Court for the Central
     9   District of California, Judge Virginia A. Phillips presiding, at __________ on
    10   ______________________________, 2023, (the “Fairness Hearing”) (at least 120
    11   days after entry of the preliminary approval order) to determine, among other
    12   issues:
    13                  A.     Whether the Settlement Agreement should be approved as fair,
    14           reasonable, and adequate;
    15                  B.     Whether the notice and notice methodology were performed as
    16           directed by this Court;
    17                  C.     Whether the motion for attorneys’ fees and costs to be filed by
    18           Class Counsel should be approved;
    19                  D.     Whether the motion for compensation to Class Representatives
    20           should be approved; and
    21                  E.     Whether the Administrative Expenses specified in the
    22           Settlement Agreement and requested by the parties should be approved for
    23           payment from the Settlement Fund.
    24           The Motion for Final Approval of Class Settlement shall be due ten (10)
    25   business days before the Fairness Hearing, modifying the twenty-eight (28) day
    26   deadline for the filing of a noticed motion set forth in Local Rule 6-1.
    27
    28
          No. 2:16-cv-06191-VAP-E                     -2-       [PROPOSED] ORDER GRANTING PRELIMINARY
                                                                  APPROVAL OF CLASS ACTION SETTLEMENT



                                                                                            Exhibit 2
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     1      3.        Establishment of Qualified Settlement Fund:
     2           A common fund is agreed to by the parties in the Settlement Agreement and
     3   is hereby established and shall be known as the Munro, et al. v. University of
     4   Southern California Settlement Fund (the “Settlement Fund”). The Settlement
     5   Fund shall be a “qualified settlement fund” within the meaning of Treasury
     6   Regulations §1.468-1(a) promulgated under Section 468B of the Internal Revenue
     7   Code. The Settlement Fund shall consist of $13,050,000 and any interest earned
     8   thereon. The Settlement Fund shall be administered as follows:
     9           A.     The Settlement Fund is established exclusively for the purposes of: (i)
    10   making distributions to Class Representatives and the Settlement Class specified in
    11   the Settlement Agreement; (ii) making payments for all settlement administration
    12   costs and costs of notice, including payments of all Administrative Expenses
    13   specified in the Settlement Agreement; (iii) making payments of all Attorneys’
    14   Fees and Costs to Class Counsel as awarded by the Court; and (iv) paying
    15   employment, withholding, income, and other applicable taxes, all in accordance
    16   with the terms of the Settlement Agreement and this Order. Other than the payment
    17   of Administrative Expenses or as otherwise expressly provided in the Settlement
    18   Agreement, no distribution shall be made from the Settlement Fund until after the
    19   Settlement Effective Date.
    20           B.     Within the time period set forth in the Settlement Agreement,
    21   Defendants or their insurer(s) shall cause $13,050,000 to be deposited into the
    22   Settlement Fund.
    23           C.     The Court directs the Settlement Administrator to provide the
    24   Settlement Notice, implement the Plan of Allocation, and otherwise assist in
    25   administration of the Settlement as set forth in the Settlement Agreement.
    26           D.     Defendants shall timely furnish a statement to the Settlement
    27   Administrator that complies with Treasury Regulation § 1.468B-3(e)(2), which
    28   may be a combined statement under Treasury Regulation § 1.468B-3(e)(2)(ii) and
         No. 2:16-cv-06191-VAP-E               -3-       [PROPOSED] ORDER GRANTING PRELIMINARY
                                                                 APPROVAL OF CLASS ACTION SETTLEMENT



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     1   shall attach a copy of the statement to their federal income tax returns filed for the
     2   taxable year in which Defendants make a transfer to the Settlement Fund.
     3         E.     Defendants shall have no withholding, reporting, or tax reporting
     4   responsibilities with regard to the Settlement Fund or its distribution, except as
     5   otherwise specifically identified herein. Moreover, Defendants shall have no
     6   liability, obligation, or responsibility for administration of the Settlement Fund or
     7   the disbursement of any monies from the Settlement Fund except for: (1) their
     8   obligation to cause the Gross Settlement Amount to be paid; and (2) their
     9   agreement to cooperate in providing information that is necessary for settlement
    10   administration set forth in the Settlement Agreement.
    11         F.     The oversight of the Settlement Fund is the responsibility of the
    12   Settlement Administrator. The status and powers of the Settlement Administrator
    13   are as defined by this Order and as approved in the Settlement Agreement.
    14         G.     The Gross Settlement Amount caused to be paid by the Defendants
    15   and/or their insurer(s) into the Settlement Fund in accordance with the Settlement
    16   Agreement, and all income generated by that amount, shall be in custodia legis and
    17   immune from attachment, execution, assignment, hypothecation, transfer, or
    18   similar process by any person. Once the Settlement Fund vests, it is irrevocable
    19   during its term and Defendants have divested themselves of all right, title, or
    20   interest, whether legal or equitable, in the Settlement Fund, if any; provided,
    21   however, in the event the Settlement Agreement is not approved by the Court or
    22   the Settlement set forth in the Settlement Agreement is terminated or fails to
    23   become effective in accordance with its terms (or, if following approval by this
    24   Court, such approval is reversed or modified), the parties shall be restored to their
    25   respective positions in this case as of the day prior to the Settlement Agreement
    26   Execution Date; the terms and provisions of the Settlement Agreement and this
    27   Order shall be void and have no force and effect and shall not be used in this case
    28   or in any proceeding for any purpose; and the Settlement Fund and income earned
          No. 2:16-cv-06191-VAP-E                -4-         [PROPOSED] ORDER GRANTING PRELIMINARY
                                                                 APPROVAL OF CLASS ACTION SETTLEMENT



                                                                                           Exhibit 2
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     1   thereon shall immediately be returned to the entity(ies) that funded the Settlement
     2   Fund.
     3           H.   The Settlement Administrator may make disbursements out of the
     4   Settlement Fund only in accordance with this Order or any additional Orders
     5   issued by the Court.
     6           I.   The Settlement Fund shall expire after the Settlement Administrator
     7   distributes all of the assets of the Settlement Fund in accordance with Article 6 of
     8   the Settlement Agreement, provided, however, that the Settlement Fund shall not
     9   terminate until its liability for any and all government fees, fines, taxes, charges,
    10   and excises of any kind, including income taxes, and any interest, penalties, or
    11   additions to such amounts, are, in the Settlement Administrator’s sole discretion,
    12   finally determined and all such amounts have been paid by the Settlement Fund.
    13           J.   The Settlement Fund shall be used to make payments to Class
    14   Members under the Plan of Allocation set forth in the Settlement Agreement.
    15   Individual payments to Class Members will be subject to tax withholding as
    16   required by law and as described in the Class Notice and its attachments. In
    17   addition, all Class Representatives’ Compensation, Administrative Expenses, and
    18   all Attorneys’ Fees and Costs of Class Counsel shall be paid from the Settlement
    19   Fund.
    20           K.   The Court and the Settlement Administrator recognize that there will
    21   be tax payments, withholding, and reporting requirements in connection with the
    22   administration of the Settlement Fund. The Settlement Administrator shall, in
    23   accordance with the Settlement Agreement, determine, withhold, and pay over to
    24   the appropriate taxing authorities any taxes due with respect to any distribution
    25   from the Settlement Fund, and shall make and file with the appropriate taxing
    26   authorities any reports or returns due with respect to any distributions from the
    27   Settlement Fund. The Settlement Administrator also shall determine and pay any
    28   income taxes owing with respect to the income earned by the Settlement Fund.
          No. 2:16-cv-06191-VAP-E                -5-       [PROPOSED] ORDER GRANTING PRELIMINARY
                                                                  APPROVAL OF CLASS ACTION SETTLEMENT



                                                                                            Exhibit 2
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     1   Additionally, the Settlement Administrator shall file returns and reports with the
     2   appropriate taxing authorities with respect to the payment and withholding of
     3   taxes.
     4            L.   The Settlement Administrator, in its discretion, may request expedited
     5   review and decision by the IRS or the applicable state or local taxing authorities
     6   with regard to the correctness of the returns filed for the Settlement Fund, and it
     7   shall establish reserves to assure the availability of sufficient funds to meet the
     8   obligations of the Settlement Fund itself and the Settlement Administrator as
     9   fiduciaries of the Settlement Fund. Reserves may be established for taxes on the
    10   Settlement Fund income or on distributions.
    11            M.   The Settlement Administrator shall have all the necessary powers, and
    12   take all necessary ministerial steps, to effectuate the terms of the Settlement
    13   Agreement, including the payment of all distributions. Such powers include
    14   receiving and processing information from Former Participants pertaining to their
    15   claims and investing, allocating and distributing the Settlement Fund, and in
    16   general supervising the administration of the Settlement Agreement in accordance
    17   with its terms and this Order.
    18            N.   The Settlement Administrator shall keep detailed and accurate
    19   accounts of all investments, receipts, disbursements and other transactions of the
    20   Settlement Fund. All accounts, books, and records relating to the Settlement Fund
    21   shall be open for reasonable inspection by such persons or entities as the Court
    22   orders. Included in the Settlement Administrator’s records shall be complete
    23   information regarding actions taken with respect to the award of any payments to
    24   any person, the nature and status of any payment from the Settlement Fund, and
    25   other information which the Settlement Administrator considers relevant to
    26   showing that the Settlement Fund is being administered, and awards are being
    27   made, in accordance with the purposes of the Settlement Agreement, this Order,
    28   and any future orders that the Court may find it necessary to issue.
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                                                                  APPROVAL OF CLASS ACTION SETTLEMENT



                                                                                            Exhibit 2
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     1           O.      The Settlement Administrator may establish protective conditions
     2   concerning the disclosure of information maintained by the Settlement
     3   Administrator if publication of such information would violate any law, including
     4   rights to privacy. Any person entitled to such information who is denied access to
     5   the Settlement Fund’s records may submit a request to the Court for such
     6   information. However, the Settlement Administrator shall supply such information
     7   to any claimant as may be reasonably necessary to allow him or her to accurately
     8   determine his or her federal, state, and local tax liabilities. Such information shall
     9   be supplied in the form and manner prescribed by relevant law.
    10           P.      This Order will bind any successor Settlement Administrator. The
    11   successor Settlement Administrator(s) shall have, without further act on the part of
    12   anyone, all the duties, powers, functions, immunities, and discretion granted to the
    13   original Settlement Administrator. Any Settlement Administrator(s) who is
    14   replaced (by reason other than death) shall execute all instruments, and do all acts,
    15   that may be necessary or that may be ordered or requested in writing by the Court
    16   or by any successor Settlement Administrator(s), to transfer administrative powers
    17   over the Settlement Fund to the successor Settlement Administrator(s). The
    18   appointment of a successor Settlement Administrator(s), if any, shall not under any
    19   circumstances require Defendants to make any further payment of any nature into
    20   the Settlement Fund or otherwise.
    21      4.        Class Notice:
    22           The Settling Parties have presented to the Court proposed forms of Class
    23   Notice for current and former participants, which are appended hereto as Exhibit 3
    24   and Exhibit 4, respectively.
    25           A.      The Court finds that the proposed forms and the website referenced in
    26   the Class Notice fairly and adequately:
    27                i. Describe the terms and effect of the Settlement Agreement and of the
    28                   Settlement;
          No. 2:16-cv-06191-VAP-E                   -7-         [PROPOSED] ORDER GRANTING PRELIMINARY
                                                                  APPROVAL OF CLASS ACTION SETTLEMENT



                                                                                            Exhibit 2
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     1              ii. Notify the Class concerning the proposed Plan of Allocation;
     2              iii. Notify the Class that Class Counsel will seek compensation from the
     3                 Settlement Fund for the Class Representatives, Attorneys’ Fees and
     4                 Costs;
     5              iv. Notify the Class that Administrative Expenses related to the
     6                 implementation of the Settlement will be paid from the Settlement
     7                 Fund;
     8              v. Notify the Class of the time and place of the Fairness Hearing; and
     9              vi. Describe how the recipients of the Class Notice may object to any of
    10                 the relief requested and the rights of the parties to discovery
    11                 concerning such objections.
    12         B.      The Settling Parties have proposed the following manner of
    13   communicating the notice to members of the Class, and the Court finds that such
    14   proposed manner is reasonable under the circumstances, and directs that the
    15   Settlement Administrator shall by no later than sixty (60) days before the Fairness
    16   Hearing, cause the Class Notice, with such non-substantive modifications thereto
    17   as may be agreed upon by the Settling Parties, to be sent by electronic mail to all
    18   Class Members for whom the Settlement Administrator is provided a current email
    19   address and mailed, by first-class mail, postage prepaid, to the last known address
    20   of all Class Members for whom there is no current email address and for whom can
    21   be identified through commercially reasonable means. Defendants shall cooperate
    22   with the Settlement Administrator by providing, in electronic format, the names,
    23   addresses, email addresses (to the extent available), and social security numbers of
    24   members of the Class. The names, addresses, email addresses (to the extent
    25   available), and Social Security numbers or other unique identifiers obtained in
    26   accordance with this Order shall be used solely for the purpose of providing notice
    27   of this Settlement and as required for purposes of tax withholding and reporting,
    28   and for no other purpose.
         No. 2:16-cv-06191-VAP-E                     -8-        [PROPOSED] ORDER GRANTING PRELIMINARY
                                                                  APPROVAL OF CLASS ACTION SETTLEMENT



                                                                                            Exhibit 2
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     1           C.     For any Class Notice returned as undeliverable, the Settlement
     2   Administrator shall utilize the provided Social Security number to attempt to
     3   determine the current address of the Class Member and shall mail notice to that
     4   address.
     5           D.     At or before the Fairness Hearing, Class Counsel or the Settlement
     6   Administrator shall file with the Court a proof of timely compliance with the
     7   foregoing requirements.
     8           E.     The Court directs Class Counsel, no later than sixty (60) days before
     9   the Fairness Hearing, to cause the Class Notice to be published on the website
    10   identified in the Class Notice.
    11      5.        Objections to Settlement:
    12           Any member of the Class who wishes to object to the fairness,
    13   reasonableness or adequacy of the Settlement, to the Plan of Allocation, to any
    14   term of the Settlement Agreement, to the proposed award of attorneys’ fees and
    15   costs, or to any request for compensation for the Class Representatives must file an
    16   Objection in the manner set out in this Order.
    17           A.     A Class Member wishing to raise an objection to the Plan of
    18   Allocation, to any term of the Settlement Agreement, to the proposed award of
    19   attorneys’ fees and costs, or to any request for compensation for the Class
    20   Representatives must do the following: (A) file with the Court a statement of his,
    21   her, or its objection(s), specifying the reason(s), if any, for each such objection
    22   made, including any legal support or evidence that such objector wishes to bring to
    23   the Court’s attention or introduce in support of such objection; and (B) serve
    24   copies of the objection and all supporting authorities or evidence to Class Counsel
    25   and Defense Counsel. The addresses for filing objections with the Court and for
    26   service of such objections on counsel for the parties to this matter are as follows:
    27
    28
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     1      Clerk of the Court
     2      United States District Court for the Central District of California
     3      First Street Courthouse, 6th Floor, 350 West 1st Street, Los Angeles, CA 90012
     4
     5      Jerome J. Schlichter (jschlichter@uselaws.com)
     6      Michael A. Wolff (mwolff@uselaws.com)
     7      Joel D. Rohlf (jrohlf@uselaws.com)
     8      Victoria C. St. Jean (vstjean@uselaws.com)
     9      SCHLICHTER BOGARD & DENTON
    10      100 South Fourth St., Suite 1200
    11      St. Louis, Missouri 63102
    12      Tel: (314) 621-6115
    13      Fax: (314) 621-5934
    14
    15      Christopher Chorba (cchorba@gibsondunn.com)
    16      Heather Richardson (hrichardson@gibsondunn.com)
    17      GIBSON, DUNN & CRUTCHER LLP
    18      333 South Grand Avenue
    19      Los Angeles, CA 90071
    20      Tel: (213) 229-7000
    21      Fax: (213) 229-7520
    22
    23         B.      The objector, or his, her, or its counsel (if any), must serve copies of
    24   the objection(s) on the attorneys listed above and file it with the Court by no later
    25   than thirty (30) days before the date of the Fairness Hearing.
    26         C.      If an objector hires an attorney to represent him, her, or it for the
    27   purposes of making such objection pursuant to this paragraph, the attorney must
    28
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                                                                   APPROVAL OF CLASS ACTION SETTLEMENT



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     1   serve a notice of appearance on the attorneys listed above and file it with the Court
     2   by no later than thirty (30) days before the date of the Fairness Hearing.
     3           D.      Failure to serve objections(s) on either the Court or counsel for the
     4   parties shall constitute a waiver of the objection(s). Any Class Member or other
     5   person who does not timely file and serve a written objection complying with the
     6   terms of this Order shall be deemed to have waived, and shall be foreclosed from
     7   raising, any objection to the Settlement, and any untimely objection shall be
     8   barred.
     9           E.      Any party wishing to obtain discovery from any objector may, but is
    10   not required to, serve discovery requests, including requests for documents and
    11   notice of deposition not to exceed two (2) hours in length, on any objector within
    12   ten (10) days of receipt of the objection, and any responses to discovery or
    13   depositions must be completed within ten (10) days of the request being served on
    14   the objector.
    15           F.      Any party wishing to file a response to an objection must do so and
    16   serve the response on all parties no later than five (5) days before the Fairness
    17   Hearing.
    18      6.        Appearance at Fairness Hearing:
    19           Any objector who files and serves a timely, written objection in accordance
    20   with the terms of this Order as set out in Paragraph 5 above may also appear at the
    21   Fairness Hearing either in person or through counsel retained at the objector’s
    22   expense. Objectors or their attorneys intending to speak at the Fairness Hearing
    23   must serve a notice of intention to speak setting forth, among other things, the
    24   name, address, and telephone number of the objector (and, if applicable, the name,
    25   address, and telephone number of the objector’s attorney) on Class Counsel and
    26   Defense Counsel (at the addresses set out above) and file it with the Court by no
    27   later than thirty (30) days before the date of the Fairness Hearing. Any objector (or
    28   objector’s attorney) who does not timely file and serve a notice of intention to
          No. 2:16-cv-06191-VAP-E                - 11 -       [PROPOSED] ORDER GRANTING PRELIMINARY
                                                                   APPROVAL OF CLASS ACTION SETTLEMENT



                                                                                             Exhibit 2
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     1   appear in accordance with this paragraph shall not be permitted to speak at the
     2   Fairness Hearing.
     3      7.       Claim Form Deadline:
     4            All valid claim forms must be received by the Settlement Administrator with
     5   a postmark date or submitted online no later than ________________ (10 days
     6   prior to the Final Fairness Hearing).
     7      8.       Service of Papers:
     8            Defense Counsel and Class Counsel shall promptly furnish each other with
     9   copies of all objections that come into their possession.
    10      9.       Effect of Termination of Settlement on this Order:
    11            If the Settlement is terminated in accordance with the Settlement Agreement,
    12   this Order shall become null and void, and shall be without prejudice to the rights
    13   of the Settling Parties, all of whom shall be restored to their respective positions
    14   existing the day before the Settlement Agreement Execution Date.
    15      10.      Use of Order:
    16            This Order shall not be construed or used as an admission, concession, or
    17   declaration by or against Defendants of any fault, wrongdoing, breach, or liability,
    18   or a waiver of any claims or defenses, including but not limited to those as to the
    19   propriety of any amended pleadings or the propriety and scope of class
    20   certification. This Order shall not be construed or used as an admission,
    21   concession, or declaration by or against any named plaintiff, Class Representatives,
    22   or the Settlement Class that their claims lack merit, or that the relief requested by
    23   Plaintiffs is inappropriate, improper, or unavailable. This Order shall not be
    24   construed or used as a waiver by any party of any arguments, defenses, or claims
    25   he, she, or it may have, including but not limited to any objections by Defendants
    26   to class certification in the event that the Settlement Agreement is terminated.
    27
    28
          No. 2:16-cv-06191-VAP-E                  - 12 -      [PROPOSED] ORDER GRANTING PRELIMINARY
                                                                 APPROVAL OF CLASS ACTION SETTLEMENT



                                                                                            Exhibit 2
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     1      11.      Parallel Proceedings:
     2            Pending final determination of whether the Settlement Agreement should be
     3   approved, the Class Representatives, every Class Member, and the Plans are
     4   prohibited and enjoined from directly, through representatives, or in any other
     5   capacity, commencing any action or proceeding in any court or tribunal asserting
     6   any of the Released Claims against the Released Parties, including Defendants.
     7      12. Class Action Fairness Act Notice:
     8            The form of notice under the Class Action Fairness Act of 2005 (“CAFA”)
     9   submitted as Exhibit 6 to the Settlement Agreement complies with the
    10   requirements of CAFA and will, upon mailing, discharge Defendants’ obligations
    11   pursuant to CAFA.
    12      13. Continuance of Hearing:
    13            The Court may continue the Fairness Hearing in its discretion without direct
    14   notice to the Settlement Class, other than by notice to Class Counsel and Defense
    15   Counsel, and any Class Member wishing to appear should check the Court’s
    16   docket or call the Clerk’s office before the scheduled date of the Fairness Hearing.
    17            SO ORDERED:
    18            DATED:             ______________ , 2023
    19
    20
    21
    22                                                HON. VIRGINIA A. PHILLIPS
    23                                                UNITED STATES DISTRICT JUDGE
    24
    25
    26
    27
    28
         No. 2:16-cv-06191-VAP-E                   - 13 -      [PROPOSED] ORDER GRANTING PRELIMINARY
                                                                 APPROVAL OF CLASS ACTION SETTLEMENT



                                                                                           Exhibit 2
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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
                                           WESTERN DIVISION


    ALLEN L. MUNRO, et al.,
                                                             CASE NO. 2:16-cv-06191-VAP-E
                             Plaintiffs,
                                                             NOTICE OF CLASS ACTION SETTLEMENT
           v.                                                AND FAIRNESS HEARING

    UNIVERSITY OF SOUTHERN CALIFORNIA                        Hon. Virginia A. Phillips
    and USC RETIREMENT PLAN OVERSIGHT
    COMMITTEE,

                             Defendants.



                Your legal rights might be affected if you are a member of the following class:
All participants and beneficiaries of the University of Southern California Defined Contribution Retirement Plan
and the University of Southern California Tax-Deferred Annuity Plan from August 17, 2010 through December
31, 2022 (the “Class Period”), excluding the Defendants.
Please read this Notice carefully.
                        PLEASE READ THIS SETTLEMENT NOTICE CAREFULLY.
•     The Court has given its preliminary approval to a proposed settlement (the “Settlement”) of a class action
      lawsuit brought by certain participants in the Plans against the University of Southern California and the
      USC Retirement Plan Oversight Committee (“Defendants”), alleging violations of the Employee Retirement
      Income Security Act (“ERISA”). The Settlement provides for the allocation of monies directly into the
      individual accounts of members of the Settlement Class who had Plan accounts recordkept by TIAA-CREF,
      Prudential Insurance Company of America, Fidelity Investments, or the Vanguard Group during the Class
      Period with a balance greater than $0 as of December 31, 2022 (“Current Participants”). Class Members
      who are entitled to a distribution but who no longer had a Plan account with a balance greater than $0 as of
      December 31, 2022 (“Former Participants”) will receive their allocation in the form of a check mailed to
      their last known address or a rollover, if elected.
•     The terms and conditions of the Settlement are set forth in the Settlement Agreement dated February 23,
      2023. Capitalized terms used in this Settlement Notice but not defined in this Settlement Notice have the
      meanings assigned to them in the Settlement Agreement. The Settlement Agreement is available at
      [INSERT]. Any amendments to the Settlement Agreement or any other settlement documents will be posted
      on that website. You should visit that website if you would like more information about the Settlement and
      any possible amendments to the Settlement Agreement or other changes, including changes to the Plan of
      Allocation, the date, time, or location of the Fairness Hearing, or other Court orders concerning the
      Settlement.
•     Your rights and options — and the deadlines to exercise them — are explained in this Settlement Notice.
•     The Court still has to decide whether to give its final approval to the Settlement. Payments under the
      Settlement will be made only if the Court finally approves the Settlement and that final approval is upheld
      in the event of any appeal.
•     A hearing on the final approval of the Settlement and for approval of the Class Representatives’ petition for
      Attorneys’ Fees and Costs and for Class Representatives’ Compensation will take place on
                  , 2023, at        , before Judge Virginia A. Phillips in Courtroom 6A, United States
      Courthouse, 350 West 1st Street, Los Angeles, CA 90012.



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                                                                                                                Exhibit 3
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     •    Any objections to the Settlement, to the petition for Attorneys’ Fees and Costs or to Class Representatives’
          Compensation, must be served in writing on Class Counsel and Defendants’ Counsel, as identified on page
          5 of this Settlement Notice.
     •    Further information regarding the litigation, the Settlement, and this Settlement Notice, including any
          changes to the terms of the Settlement and all orders of the Court regarding the Settlement, may be obtained
          at [INSERT].
         According to the Plans’ records, you are a Current Participant. If you believe that you meet the
      definition of a Former Participant, please contact the Settlement Administrator. Current Participants
     include both participants currently employed at the University of Southern California and participants
      who are no longer employed by the University of Southern California but continue to have an account
                                               balance in the Plans.

                     YOUR LEGAL RIGHTS AND OPTIONS UNDER THE SETTLEMENT:
                               Our records indicate that you are a Current Participant. If, however, you are a “Former
                               Participant” who participated in the Plan during the Class Period and on December 31,
                               2022, did not have a balance greater than $0, or are the beneficiary, alternate payee, or
 OUR RECORDS INDICATE          attorney-in-fact of such a person, then, unlike a Current Participant, you must return a
THAT YOU ARE A CURRENT         Former Participant Claim Form that is postmarked by                   , 2023 or completed
PARTICIPANT. YOU DO NOT        online and filed electronically through the website [INSERT], to receive a check or rollover
NEED TO DO ANYTHING TO         for your share of the Net Settlement Amount. If you are a Former Participant, and you do
  PARTICIPATE IN THE           not return the Former Participant Claim Form that is postmarked by                   , 2023, or
      SETTLEMENT               submitted electronically by                , 2023, you will forfeit your share of the Net
                               Settlement Amount. We have not included a claim form in your notice because Current
                               Participants do not need to submit a claim form, and our records indicate that you are a
                               Current Participant. However, if you believe you are a Former Participant, a claim form may
                               be obtained by accessing [INSERT].
                               If you wish to object to any part of the Settlement, you may (as discussed below) write to
 YOU CAN OBJECT (NO
                               the Court and counsel about why you object to the Settlement. The Court has authorized the
LATER THAN          ,
                               parties to seek discovery, including the production of documents and appearance at a
        2023)
                               deposition, from any person who files an objection.
                               If you submit a written objection to the Settlement to the Court and counsel before the
  YOU CAN ATTEND A             deadline, you may attend the hearing about the Settlement and present your objections to the
 HEARING ON        ,           Court. You may attend the hearing even if you do not file a written objection, but you will
         2023                  not be permitted to address the Court at the hearing if you do not notify the Court and
                               counsel of your intention to appear at the hearing by               , 2023.

     The Class Action
     The case is called Munro v. University of Southern California, Case No. 16-6191 (the “Class Action”). It has
     been pending since August 2016. The Court supervising the case is the United States District Court for the
     Central District of California. The individuals who brought this suit are called Class Representatives, and the
     entities they sued are called the Defendants. The Class Representatives are current and former participants in the
     Plans. The Defendants are the University of Southern California and the USC Retirement Plan Oversight
     Committee. The Class Representatives’ claims are described below, and additional information about them is
     available at [INSERT].
     The Settlement
     After over six years of litigation, the parties reached a settlement on January 24, 2023. Class Counsel filed this
     action in August 2016. Since the filing of the action, Class Counsel devoted substantial time and effort to support
     the underlying claims. The parties participated in mediation and engaged in extensive settlement discussions
     with the assistance of a private mediator. For those claims that were not dismissed during pretrial proceedings,




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      they were scheduled to be tried beginning on January 24, 2023. Shortly before trial, the parties reached a tentative
      settlement on the claims.

      As part of the Settlement, a Qualified Settlement Fund of $13,050,000 will be established to resolve the Class
      Action. The Net Settlement Amount is $13,050,000 minus any Administrative Expenses, taxes, tax expenses,
      Court-approved Attorneys’ Fees and Costs, Class Representatives’ Compensation, and other approved expenses
      of the litigation. The Net Settlement Amount will be allocated to Class Members according to a Plan of
      Allocation to be approved by the Court.
      Statement Of Attorneys’ Fees and Costs Sought in the Class Action
      Class Counsel devoted thousands of hours bringing this action, pursuing it for more than six years. Class Counsel
      defeated, in part, Defendants’ motion to dismiss and obtained class certification over Defendants’ opposition. In
      doing so, they advanced substantial costs for expert witnesses, document review, depositions, and other costs
      necessary to pursue the case. In total, Class Counsel have reviewed and analyzed over 1,260,000 pages of
      documents produced in this litigation. Class Counsel took the risk of litigation and have not been paid for any of
      their time or for any of these costs throughout the time this case has been pending before the District Court.
      Class Counsel also has agreed to undertake the additional risk of paying half of the costs of the settlement process
      if the Settlement is not approved.
      Class Counsel will apply to the Court for payment of Attorneys’ Fees and Costs for their work in the case. The
      amount of fees (not including costs) that Class Counsel will request will not exceed one-third of the Settlement
      Amount, $4,350,000.00 in addition to no more than $1,500,000 in litigation costs. Class Counsel will not seek
      to receive any interest earned by the Qualified Settlement Fund, which will be added to the amount received by
      the Class. Any Attorneys’ Fees and Costs awarded by the Court to Class Counsel will be paid from the Qualified
      Settlement Fund.
      As is customary in class action cases, in which the Class Representatives have spent time and effort on the
      litigation, Class Counsel also will ask the Court to approve payments, not to exceed $25,000 each for eight Class
      Representatives who took on the risk of litigation, sat for depositions, responded to discovery, devoted
      considerable time, and committed to spend the time necessary to bring the case to conclusion. Their activities
      also included assisting in the factual investigation of the case by Class Counsel, reviewing settlement
      negotiations, preparing for depositions, preparing for trial, and giving overall support to the case. Any Class
      Representatives’ Compensation awarded by the Court will be paid from the Qualified Settlement Fund.
      A full and formal application for Attorneys’ Fees and Costs and for Class Representatives’ Compensation will
      be filed with the Court and made available on the Settlement Website, [INSERT].
1. Why Did I Receive This Settlement Notice?
      The Court caused this Settlement Notice to be sent to you because the University of Southern California’s records
      indicate that you may be a Class Member. If you fall within the definition of the Class, you have a right to know
      about the Settlement and about all of the options available to you before the Court decides whether to give its
      final approval to the Settlement. If the Court approves the Settlement, and after any objections and appeals are
      resolved, the Net Settlement Amount will be allocated among Class Members according to a Court-approved
      Plan of Allocation.
2. What Is The Class Action About?
    In the Class Action, Class Representatives claim that, during the Class Period, the Defendants violated the
    Employee Retirement Income Security Act of 1974 (“ERISA”), as amended, 29 U.S.C. §1001, et seq., with
    respect to their management, operation, and administration of the Plans, including causing the Plans to pay
    excessive recordkeeping fees and to include imprudent investments as Plan investment options.
      Defendants have denied and continue to deny the claims and contentions of the Class Representatives, that they
      are liable at all to the Class, and that the Class or the Plans have suffered any harm or damage for which
      Defendants could or should be held responsible.




                                                               3


                                                                                                                     Exhibit 3
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3. Why Is There A Settlement?
      The Court has not reached a final decision as to the Class Representatives’ claims. Instead, after more than six
      years of litigation, the Class Representatives and Defendants have agreed to the Settlement. The Settlement is
      the product of extensive negotiations between Class Counsel and Defendants’ counsel and multiple sessions with
      a private mediator. The Settlement only was reached shortly before the trial in this case. The parties to the
      Settlement have taken into account the uncertainty and risks of litigation and have concluded that it is desirable
      to settle on the terms and conditions set forth in the Settlement Agreement. The Class Representatives and Class
      Counsel, who are experienced in this kind of matter, believe that the Settlement is best for all Class Members.
4. What Does The Settlement Provide?
      The Net Settlement Amount will be allocated to Class Members according to a Plan of Allocation to be approved
      by the Court. Class Members fall into two categories: Current Participants and Former Participants. Allocations
      to Current Participants who are entitled to a distribution under the Plan of Allocation will be made into their
      existing Plan accounts. Former Participants who are entitled to a distribution will receive their distribution as a
      check mailed to their last known address or, if they elect, as a rollover to a qualified retirement account.
      All Class Members and anyone claiming through them will fully release the Plans as well as Defendants and
      their “Released Parties” from “Released Claims.” The Released Parties include: Defendants as well as all
      Defendants’ current and former directors, officers, members, administrators, agents, insurers, beneficiaries,
      trustees, employee benefit plans, representatives, servants, employees, attorneys, parents, subsidiaries, divisions,
      branches, units, shareholders, investors, successors, predecessors, and assigns, and all other individual entities
      acting on Defendants’ behalf.
      The Released Claims include any and all claims, demands, rights, damages, arbitrations, liabilities, obligations,
      suits, debts, liens, and causes of action pursuant to any theory of recovery (including, but not limited to, those
      based in contract or tort, common law or equity, federal state, or local law, statute, ordinance, or regulation) of
      every nature and description whatsoever, ascertained or unascertained, suspected or unsuspected, existing or
      claimed to exist, including unknown claims as of the date of this Notice that are based on the facts alleged in the
      Operative Complaint in the Class Action or that would be barred by the principles of res judicata or collateral
      estoppel had the claims been asserted in the Operative Complaint.
      The actual governing release is found within the Settlement Agreement at [INSERT]. Generally, the release
      means that Class Members will not have the right to sue the Defendants, the Plans, or the Released Parties for
      conduct during the Class Period arising out of or relating to the allegations in the Class Action.
      This is only a summary of the Settlement. The entire Settlement Agreement is at [INSERT].
5. How Much Will My Distribution Be?
      The amount, if any, that will be allocated to you will be based upon records maintained by the Plans’
      recordkeepers (TIAA-CREF, Prudential Insurance Company of America, Fidelity Investments, or the Vanguard
      Group), or, if on December 31, 2022, you either no longer had a Plan account or had a Plan account with no
      money in it, based upon your Former Participant Claim Form. Calculations regarding the individual distributions
      will be performed by the Settlement Administrator, whose determinations will be final and binding, pursuant to
      the Court-approved Plan of Allocation.
      To be eligible for a distribution from the Net Settlement Amount, you must either be a (1) “Current Participant”
      as defined on page 1 or (2) an “Authorized Former Participant” (a “Former Participant” as defined on page 1
      who submitted a completed, satisfactory Former Participant Claim Form that is postmarked or submitted
      electronically by the deadline), or (3) a beneficiary, alternate payee, or attorney-in-fact of persons identified in
      (1) or (2).
      Payments to Authorized Former Participants and Current Participants shall be calculated by the Settlement
      Administrator as follows:
           1. The end-of-quarter balances for the Class Period of each Current Participant and each
           Authorized Former Participant are identified for each quarter;


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           2. All end-of-quarter balances identified in step 1 are summed together for each Current
           Participant and each Authorized Former Participant;

           3. An average end-of-quarter balance for each Current Participant and each Authorized Former
           Participant is calculated for the Class Period (with a zero included as the balance for any quarter
           during which the individual did not participate in the Plan or took a full distribution during the
           quarter);

           4. For each Current Participant and each Authorized Former Participant, the average end-of-
           quarter balance of step 3 is divided by the average end-of-quarter balance for the Class Period of
           all Current and Authorized Former Participants;

           5. Each Current Participant and each Authorized Former Participant will receive the fraction of
           the total Net Settlement Amount which is calculated in step 4.
      No amount shall be distributed to a Class Member that is ten dollars ($10.00) or less, because such an amount is
      de minimis and would cost more in processing than its value. The method of making these calculations is
      described in the Plan of Allocation, found in Article 6 of the Settlement Agreement and available at [INSERT].
      There are thousands of Class Members.
      Note that if you are an alternate payee pursuant to a Qualified Domestic Relations Order, your portion of the
      Settlement will be distributed pursuant to the terms of that order.
6. How Can I Receive My Distribution?
      Whether you need to submit a claim form to receive your distribution depends on whether you are considered a
      “Current Participant” or a “Former Participant.” According to the University of Southern California’s
      records, you are a Current Participant. Therefore, you do not need to do anything to receive your share
      of the Settlement. NOTE that if you withdraw your savings from the Plans in full, you will receive your
      settlement share by check with taxes withheld. This may have tax consequences that you should discuss
      with your tax advisor.
7. When Will I Receive My Distribution?
      The timing of the distribution of the Net Settlement Amount is conditioned on several matters, including the
      Court’s final approval of the Settlement and that approval becoming final and no longer subject to any appeals
      in any court. An appeal of the final approval may take several years. If the Settlement is approved by the Court,
      and there are no appeals, the Settlement distribution will likely not occur before late 2023 to early 2024.
      There Will Be No Payments Under The Settlement If The Settlement Agreement Is Terminated.
8. Can I Get Out Of The Settlement?
      No. The Class was certified under Federal Rule of Civil Procedure 23(b)(1). Therefore, as a Class Member, you
      are bound by any judgments or orders that are entered in the Class Action for all claims that were asserted in the
      Class Action or are otherwise included as Released Claims under the Settlement.
9. Do I Have A Lawyer In The Case?
     The Court has appointed the law firm Schlichter Bogard & Denton, in St. Louis, Missouri, as Class Counsel in
     the Class Action. If you want to be represented by your own lawyer, you may hire one at your own expense.
10. How Will The Lawyers Be Paid?
      Class Counsel will file a petition for the award of Attorneys’ Fees and Costs. This petition will be considered at
      the Fairness Hearing. Class Counsel has agreed to limit their application for an award of Attorneys’ Fees and
      Costs to not more than $4,350,000.00 in fees and $1,500,000 in costs. The Court will determine what fees and
      costs will be approved.



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11. How Do I Tell The Court If I Don’t Like The Settlement?
       If you are a Class Member, you can tell the Court that you do not agree with the Settlement or some part of it.
       To object, you must send the Court a written statement that you object to the Settlement in Munro v. University
       of Southern California, Case No. 16-6191. Be sure to include your name, address, telephone number, signature,
       and a full explanation of why you object to the Settlement. Your written objection must be received by the Court
       no later than                                 , 2023. The Court’s address is Clerk of the Court, United States
       District Court, Central District of California, 350 West 1st Street, Los Angeles, CA 90012. Your written
       objection also must be mailed to the lawyers listed below, no later than                                 , 2023.
       Please note that the Court’s Order Granting Preliminary Approval of this Settlement provides that any party to
       the litigation may, but is not required to, serve discovery requests, including requests for documents and notice
       of deposition not to exceed two hours in length, on any objector. Any responses to discovery, or any depositions,
       must be completed within ten days of the request being served on the objector.
CLASS COUNSEL                                                      DEFENDANTS’ COUNSEL
Jerome J. Schlichter (jschlichter@uselaws.com)                     Christopher Chorba (cchorba@gibsondunn.com)
Michael A. Wolff (mwolff@uselaws.com)                              Heather Richardson (hrichardson@gibsondunn.com)
Joel D. Rohlf (jrohlf@uselaws.com)                                 GIBSON, DUNN & CRUTCHER LLP
Victoria C. St. Jean (vstjean@uselaws.com)                         Attn: University of Southern California 403(b) Settlement
SCHLICHTER, BOGARD & DENTON                                        333 South Grand Avenue
Attn: University of Southern California 403(b) Settlement          Los Angeles, CA 90071
100 S. Fourth St., Suite 1200                                      Tel: (213) 229-7000
St. Louis, MO 63102                                                Fax: (213) 229-7520
Tel: (314) 621-6115
Fax: (314) 621-5934

12. When And Where Will The Court Decide Whether To Approve The Settlement?
       The Court will hold a Fairness Hearing at              on                              , 2023, at the United
       States District Court for the Central District of California, Courtroom 6A, 350 West 1st Street, Los Angeles, CA
       90012.
       At the Fairness Hearing, the Court will consider whether the Settlement is fair, reasonable, and adequate. If there
       are objections, the Court will consider them. After the Fairness Hearing, the Court will decide whether to give
       its final approval to the Settlement. The Court also will consider the petition for Class Counsel’s Attorneys’ Fees
       and Costs and any Class Representatives’ Compensation.
13. Do I Have To Attend The Fairness Hearing?
       No, but you are welcome to come at your own expense. If you send an objection, you do not have to come to the
       Court to talk about it. If you mailed your written objection on time, the Court will consider it when the Court
       considers whether to approve the Settlement as fair, reasonable, and adequate. You also may pay your own
       lawyer to attend the Fairness Hearing, but such attendance is not necessary.
14. May I Speak At The Fairness Hearing?
       If you are a Class Member, you may ask the Court for permission to speak at the Fairness Hearing. To do so,
       you must send a letter or other paper called a “Notice of Intention to Appear at Fairness Hearing in Munro v.
       University of Southern California, Case No. 16-6191.” Be sure to include your name, address, telephone
       number, and your signature. Your Notice of Intention to Appear must be mailed to the attorneys and filed with
       the Clerk of the Court, at the addresses listed in the Answer to Question No. 11, no later than
                , 2023.
15. What Happens If I Do Nothing At All?
       If you are a “Current Participant” as defined on page 1, and do nothing, you will participate in the
       Settlement of the Class Action as described above in this Settlement Notice if the Settlement is approved.


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      If you are a “Former Participant” as defined on page 1, and you do nothing, you will be bound by the Settlement
      of the Class Action as described above in this Settlement Notice if the Settlement is finally approved, BUT YOU
      WILL NOT RECEIVE ANY MONEY.
16. How Do I Get More Information?
      If you have general questions regarding the Settlement, you can visit this website: [INSERT], call [INSERT],
      or write to the [INSERT SETTLEMENT ADMINISTRATOR] at, [INSERT].




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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
                                           WESTERN DIVISION


    ALLEN L. MUNRO, et al.,
                                                             CASE NO. 2:16-cv-06191-VAP-E
                             Plaintiffs,
                                                             NOTICE OF CLASS ACTION SETTLEMENT
           v.                                                AND FAIRNESS HEARING

    UNIVERSITY OF SOUTHERN CALIFORNIA                        Hon. Virginia A. Phillips
    and USC RETIREMENT PLAN OVERSIGHT
    COMMITTEE,

                             Defendants.



                Your legal rights might be affected if you are a member of the following class:
All participants and beneficiaries of the University of Southern California Defined Contribution Retirement Plan
and the University of Southern California Tax-Deferred Annuity Plan (collectively, the “Plans”) from August
17, 2010 through December 31, 2022 (the “Class Period”), excluding the Defendants. If you are a Class Member,
and this Settlement is finally approved by the Court, your legal rights are affected whether you do or do not act.
Please read this Notice carefully.
                        PLEASE READ THIS SETTLEMENT NOTICE CAREFULLY.
•     The Court has given its preliminary approval to a proposed settlement (the “Settlement”) of a class action
      lawsuit brought by certain participants in the Plans against the University of Southern California and the
      USC Retirement Plan Oversight Committee (“Defendants”), alleging violations of the Employee Retirement
      Income Security Act (“ERISA”). The Settlement provides for the allocation of monies directly into the
      individual accounts of members of the Settlement Class who had Plan accounts recordkept by TIAA-CREF,
      Prudential Insurance Company of America, Fidelity Investments, or the Vanguard Group during the Class
      Period with a balance greater than $0 as of December 31, 2022 (“Current Participants”). Class Members
      who are entitled to a distribution but who no longer had a Plan account with a balance greater than $0 as of
      December 31, 2022 (“Former Participants”) will receive their allocation in the form of a check mailed to
      their last known address or a rollover, if elected.
•     The terms and conditions of the Settlement are set forth in the Settlement Agreement dated February 23,
      2023. Capitalized terms used in this Settlement Notice but not defined in this Settlement Notice have the
      meanings assigned to them in the Settlement Agreement. The Settlement Agreement is available at
      [INSERT]. Any amendments to the Settlement Agreement or any other settlement documents will be posted
      on that website. You should visit that website if you would like more information about the Settlement and
      any possible amendments to the Settlement Agreement or other changes, including changes to the Plan of
      Allocation, the date, time, or location of the Fairness Hearing, or other Court orders concerning the
      Settlement.
•     Your rights and options — and the deadlines to exercise them — are explained in this Settlement Notice.
•     The Court still has to decide whether to give its final approval to the Settlement. Payments under the
      Settlement will be made only if the Court finally approves the Settlement and that final approval is upheld
      in the event of any appeal.
•     A hearing on the final approval of the Settlement and for approval of the Class Representatives’ petition for
      Attorneys’ Fees and Costs and for Class Representatives’ Compensation will take place on
                  , 2023, at        , before Judge Virginia A. Phillips in Courtroom 6A, United States
      Courthouse, 350 West 1st Street, Los Angeles, CA 90012.



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     •      Any objections to the Settlement, to the petition for Attorneys’ Fees and Costs or to Class Representatives’
            Compensation, must be served in writing on Class Counsel and Defendants’ Counsel, as identified on page
            5 of this Settlement Notice.
     •      Further information regarding the litigation, the Settlement, and this Settlement Notice, including any
            changes to the terms of the Settlement and all orders of the Court regarding the Settlement, may be obtained
            at [INSERT].
         According to the Plans’ records, you are a Former Participant. If you believe instead that you meet the
         definition of a Current Participant, please contact the Settlement Administrator. Former Participants
            are individuals who no longer had an account balance greater than $0 as of December 31, 2022.

                       YOUR LEGAL RIGHTS AND OPTIONS UNDER THE SETTLEMENT:
 OUR RECORDS INDICATE
THAT YOU ARE A FORMER            The Plan’s records indicate that you are a Former Participant. You must return a Former
PARTICIPANT. YOU MUST            Participant Claim Form that is postmarked by                 , 2023, or completed online and
 RETURN THE ENCLOSED             filed electronically through the website [INSERT], in order to receive a check or rollover
  FORMER PARTICIPANT             for your share of the Net Settlement Amount. If you are a Former Participant, and you do
CLAIM FORM BY           ,        not return the Former Participant Claim Form that is postmarked by                   , 2023, or
 2023 TO PARTICIPATE IN          submitted electronically by                   , 2023, you will forfeit your share of the Net
    THE SETTLEMENT               Settlement Amount. A claim form also can be obtained by accessing [INSERT].
                                 If you wish to object to any part of the Settlement, you may (as discussed below) write to
    YOU CAN OBJECT
                                 the Court and counsel about why you object to the Settlement. The Court has authorized the
    (NO LATER THAN
                                 parties to seek discovery, including the production of documents and appearance at a
             , 2023)
                                 deposition, from any person who files an objection.
                                 If you submit a written objection to the Settlement to the Court and counsel before the
  YOU CAN ATTEND A               deadline, you may attend the hearing about the Settlement and present your objections to the
 HEARING ON        ,             Court. You may attend the hearing even if you do not file a written objection, but you will
        2023                     not be permitted to address the Court at the hearing if you do not notify the Court and
                                 counsel of your intention to appear at the hearing by                , 2023.

     The Class Action
     The case is called Munro v. University of Southern California, Case No. 16-6191 (the “Class Action”). It has
     been pending since August 2016. The Court supervising the case is the United States District Court for the
     Central District of California. The individuals who brought this suit are called Class Representatives, and the
     entities they sued are called the Defendants. The Class Representatives are current and former participants in the
     Plans. The Defendants are the University of Southern California and the USC Retirement Plan Oversight
     Committee. The Class Representatives’ claims are described below, and additional information about them is
     available at [INSERT].
     The Settlement
     After over six years of litigation, the parties reached a settlement on January 24, 2023. Class Counsel filed this
     action in August 2016. Since the filing of the action, Class Counsel devoted substantial time and effort to support
     the underlying claims. The parties participated in mediation and engaged in extensive settlement discussions
     with the assistance of a private mediator. For those claims that were not dismissed during pretrial proceedings,
     they were scheduled to be tried beginning on January 24, 2022. Shortly before trial, the parties reached a tentative
     settlement on the claims.

     As part of the Settlement, a Qualified Settlement Fund of $13,050,000 will be established to resolve the Class
     Action. The Net Settlement Amount is $13,050,000 minus any Administrative Expenses, taxes, tax expenses,
     Court-approved Attorneys’ Fees and Costs, Class Representatives’ Compensation, and other approved expenses
     of the litigation. The Net Settlement Amount will be allocated to Class Members according to a Plan of
     Allocation to be approved by the Court.



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      Statement Of Attorneys’ Fees and Costs Sought in the Class Action
      Class Counsel devoted thousands of hours bringing this action, pursuing it for more than six years. Class Counsel
      defeated, in part, Defendants’ motion to dismiss and obtained class certification over Defendants’ opposition. In
      doing so, they advanced substantial costs for expert witnesses, document review, depositions, and other costs
      necessary to pursue the case. In total, Class Counsel have reviewed and analyzed over 1,260,000 pages of
      documents produced in this litigation. Class Counsel took the risk of litigation and have not been paid for any of
      their time or for any of these costs throughout the time this case has been pending before the District Court.
      Class Counsel also has agreed to undertake the additional risk of paying half of the costs of the settlement process
      if the Settlement is not approved.
      Class Counsel will apply to the Court for payment of Attorneys’ Fees and Costs for their work in the case. The
      amount of fees (not including costs) that Class Counsel will request will not exceed one-third of the Settlement
      Amount, $4,350,000.00 in addition to no more than $1,500,000 in litigation costs. Class Counsel will not seek
      to receive any interest earned by the Qualified Settlement Fund, which will be added to the amount received by
      the Class. Any Attorneys’ Fees and Costs awarded by the Court to Class Counsel will be paid from the Qualified
      Settlement Fund.
      As is customary in class action cases, in which the Class Representatives have spent time and effort on the
      litigation, Class Counsel also will ask the Court to approve payments, not to exceed $25,000 each for eight Class
      Representatives who took on the risk of litigation, sat for depositions, responded to discovery, devoted
      considerable time, and committed to spend the time necessary to bring the case to conclusion. Their activities
      also included assisting in the factual investigation of the case by Class Counsel, reviewing settlement
      negotiations, preparing for depositions, preparing for trial, and giving overall support to the case. Any Class
      Representatives’ Compensation awarded by the Court will be paid from the Qualified Settlement Fund.
      A full and formal application for Attorneys’ Fees and Costs and for Class Representatives’ Compensation will
      be filed with the Court and made available on the Settlement Website, [INSERT].
1. Why Did I Receive This Settlement Notice?
      The Court caused this Settlement Notice to be sent to you because the University of Southern California’s records
      indicate that you may be a Class Member. If you fall within the definition of the Class, you have a right to know
      about the Settlement and about all of the options available to you before the Court decides whether to give its
      final approval to the Settlement. If the Court approves the Settlement, and after any objections and appeals are
      resolved, the Net Settlement Amount will be allocated among Class Members according to a Court-approved
      Plan of Allocation.
2. What Is The Class Action About?
    In the Class Action, Class Representatives claim that, during the Class Period, the Defendants violated the
    Employee Retirement Income Security Act of 1974 (“ERISA”), as amended, 29 U.S.C. §1001, et seq., with
    respect to their management, operation, and administration of the Plans, including causing the Plans to pay
    excessive recordkeeping fees and to include imprudent investments as Plan investment options.
      Defendants have denied and continue to deny the claims and contentions of the Class Representatives, that they
      are liable at all to the Class, and that the Class or the Plans have suffered any harm or damage for which
      Defendants could or should be held responsible.
3. Why Is There A Settlement?
      The Court has not reached a final decision as to the Class Representatives’ claims. Instead, after more than six
      years of litigation, the Class Representatives and Defendants have agreed to the Settlement. The Settlement is
      the product of extensive negotiations between Class Counsel and Defendants’ counsel and multiple sessions with
      a private mediator. The Settlement only was reached shortly before the trial in this case. The parties to the
      Settlement have taken into account the uncertainty and risks of litigation and have concluded that it is desirable
      to settle on the terms and conditions set forth in the Settlement Agreement. The Class Representatives and Class
      Counsel, who are experienced in this kind of matter, believe that the Settlement is best for all Class Members.



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4. What Does The Settlement Provide?
      The Net Settlement Amount will be allocated to Class Members according to a Plan of Allocation to be approved
      by the Court. Class Members fall into two categories: Current Participants and Former Participants. Allocations
      to Current Participants who are entitled to a distribution under the Plan of Allocation will be made into their
      existing Plan accounts. Former Participants who are entitled to a distribution will receive their distribution as a
      check mailed to their last known address or, if they elect, as a rollover to a qualified retirement account.
      All Class Members and anyone claiming through them will fully release the Plans as well as Defendants and
      their “Released Parties” from “Released Claims.” The Released Parties include Defendants as well as all
      Defendants’ current and former directors, officers, members, administrators, agents, insurers, beneficiaries,
      trustees, employee benefit plans, representatives, servants, employees, attorneys, parents, subsidiaries, divisions,
      branches, units, shareholders, investors, successors, predecessors, and assigns, and all other individual entities
      acting on Defendants’ behalf.
      The Released Claims include any and all claims, demands, rights, damages, arbitrations, liabilities, obligations,
      suits, debts, liens, and causes of action pursuant to any theory of recovery (including, but not limited to, those
      based in contract or tort, common law or equity, federal state, or local law, statute, ordinance, or regulation) of
      every nature and description whatsoever, ascertained or unascertained, suspected or unsuspected, existing or
      claimed to exist, including unknown claims as of the date of this Notice that are based on the facts alleged in the
      Operative Complaint in the Class Action or that would be barred by the principles of res judicata or collateral
      estoppel had the claims been asserted in the Operative Complaint.
      The actual governing release is found within the Settlement Agreement at [INSERT]. Generally, the release
      means that Class Members will not have the right to sue the Defendants, the Plans, or the Released Parties for
      conduct during the Class Period arising out of or relating to the allegations in the Class Action.
      This is only a summary of the Settlement. The entire Settlement Agreement is at [INSERT].
5. How Much Will My Distribution Be?
      The amount, if any, that will be allocated to you will be based upon records maintained by the Plans’
      recordkeepers (TIAA-CREF, Prudential Insurance Company of America, Fidelity Investments, or the Vanguard
      Group), or, if on December 31, 2022, you either no longer had a Plan account or had a Plan account with no
      money in it, based upon your Former Participant Claim Form. Calculations regarding the individual distributions
      will be performed by the Settlement Administrator, whose determinations will be final and binding, pursuant to
      the Court-approved Plan of Allocation.
      To be eligible for a distribution from the Net Settlement Amount, you must either be a (1) “Current Participant”
      as defined on page 1 or (2) an “Authorized Former Participant” (a “Former Participant” as defined on page 1
      who submitted a completed, satisfactory Former Participant Claim Form that is postmarked or submitted
      electronically by the deadline), or (3) a beneficiary, alternate payee, or attorney-in-fact of persons identified in
      (1) or (2).
      Payments to Authorized Former Participants and Current Participants shall be calculated by the Settlement
      Administrator as follows:
           1. The end-of-quarter balances for the Class Period of each Current Participant and each
           Authorized Former Participant are identified for each quarter;

           2. All end-of-quarter balances identified in step 1 are summed together for each Current
           Participant and each Authorized Former Participant;

           3. An average end-of-quarter balance for each Current Participant and each Authorized Former
           Participant is calculated for the Class Period (with a zero included as the balance for any quarter
           during which the individual did not participate in the Plan or took a full distribution during the
           quarter);



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            4. For each Current Participant and each Authorized Former Participant, the average end-of-
            quarter balance of step 3 is divided by the average end-of-quarter balance for the Class Period of
            all Current and Authorized Former Participants;

            5. Each Current Participant and each Authorized Former Participant will receive the fraction of
            the total Net Settlement Amount which is calculated in step 4.
      No amount shall be distributed to a Class Member that is ten dollars ($10.00) or less, because such an amount is
      de minimis and would cost more in processing than its value. The method of making these calculations is
      described in the Plan of Allocation, found in Article 6 of the Settlement Agreement and available at [INSERT].
      There are thousands of Class Members.
      Note that if you are an alternate payee pursuant to a Qualified Domestic Relations Order, your portion of the
      Settlement will be distributed pursuant to the terms of that order.
6. How Can I Receive My Distribution?
      Whether you need to submit a claim form to receive your distribution depends on whether you are considered a
      “Current Participant” or a “Former Participant.” According to the University of Southern California’s
      records, you are a Former Participant. Therefore, you need to return your Claim Form or submit your
      claim online to receive your share of the Settlement.
7. When Will I Receive My Distribution?
      The timing of the distribution of the Net Settlement Amount is conditioned on several matters, including the
      Court’s final approval of the Settlement and that approval becoming final and no longer subject to any appeals
      in any court. An appeal of the final approval may take several years. If the Settlement is approved by the Court,
      and there are no appeals, the Settlement distribution will likely not occur before late 2023 to early 2024.
      There Will Be No Payments Under The Settlement If The Settlement Agreement Is Terminated.
8. Can I Get Out Of The Settlement?
      No. The Class was certified under Federal Rule of Civil Procedure 23(b)(1). Therefore, as a Class Member, you
      are bound by any judgments or orders that are entered in the Class Action for all claims that were asserted in the
      Class Action or are otherwise included as Released Claims under the Settlement.
9. Do I Have A Lawyer In The Case?
     The Court has appointed the law firm Schlichter Bogard & Denton, in St. Louis, Missouri, as Class Counsel in
     the Class Action. If you want to be represented by your own lawyer, you may hire one at your own expense.
10. How Will The Lawyers Be Paid?
      Class Counsel will file a petition for the award of Attorneys’ Fees and Costs. This petition will be considered at
      the Fairness Hearing. Class Counsel has agreed to limit their application for an award of Attorneys’ Fees and
      Costs to not more than $4,350,000.00 in fees and $1,500,000 in costs. The Court will determine what fees and
      costs will be approved.
11. How Do I Tell The Court If I Don’t Like The Settlement?
      If you are a Class Member, you can tell the Court that you do not agree with the Settlement or some part of it.
      To object, you must send the Court a written statement that you object to the Settlement in Munro v. University
      of Southern California, Case No. 16-6191. Be sure to include your name, address, telephone number, signature,
      and a full explanation of why you object to the Settlement. Your written objection must be received by the Court
      no later than                               , 2023. The Court’s address is Clerk of the Court, United States
      District Court, Central District of California, 350 1st Street, Los Angeles, CA 90012. Your written objection
      also must be mailed to the lawyers listed below, no later than                                 , 2023. Please
      note that the Court’s Order Granting Preliminary Approval of this Settlement provides that any party to the



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       litigation may, but is not required to, serve discovery requests, including requests for documents and notice of
       deposition not to exceed two hours in length, on any objector. Any responses to discovery, or any depositions,
       must be completed within ten days of the request being served on the objector.
CLASS COUNSEL                                                      DEFENDANTS’ COUNSEL
Jerome J. Schlichter (jschlichter@uselaws.com)                     Christopher Chorba (cchorba@gibsondunn.com)
Michael A. Wolff (mwolff@uselaws.com)                              Heather Richardson (hrichardson@gibsondunn.com)
Joel D. Rohlf (jrohlf@uselaws.com)                                 GIBSON, DUNN & CRUTCHER LLP
Victoria C. St. Jean (vstjean@uselaws.com)                         Attn: University of Southern California 403(b) Settlement
SCHLICHTER BOGARD & DENTON                                         333 South Grand Avenue
Attn: University of Southern California 403(b) Settlement          Los Angeles, CA 90071
100 S. Fourth St., Suite 1200                                      Tel: (213) 229-7000
St. Louis, MO 63102                                                Fax: (213) 229-7520
Tel: (314) 621-6115
Fax: (314) 621-5934

12. When And Where Will The Court Decide Whether To Approve The Settlement?
       The Court will hold a Fairness Hearing at          . on                             , 2023, at the United
       States District Court for the Central District of California, Courtroom 6A, 350 1st Street, Los Angeles, CA
       90012.
       At the Fairness Hearing, the Court will consider whether the Settlement is fair, reasonable, and adequate. If there
       are objections, the Court will consider them. After the Fairness Hearing, the Court will decide whether to give
       its final approval to the Settlement. The Court also will consider the petition for Class Counsel’s Attorneys’ Fees
       and Costs and any Class Representatives’ Compensation.
13. Do I Have To Attend The Fairness Hearing?
       No, but you are welcome to come at your own expense. If you send an objection, you do not have to come to the
       Court to talk about it. If you mailed your written objection on time, the Court will consider it when the Court
       considers whether to approve the Settlement as fair, reasonable, and adequate. You also may pay your own
       lawyer to attend the Fairness Hearing, but such attendance is not necessary.
14. May I Speak At The Fairness Hearing?
       If you are a Class Member, you may ask the Court for permission to speak at the Fairness Hearing. To do so,
       you must send a letter or other paper called a “Notice of Intention to Appear at Fairness Hearing in Munro v.
       University of Southern California, Case No. 16-6191.” Be sure to include your name, address, telephone
       number, and your signature. Your Notice of Intention to Appear must be mailed to the attorneys and filed with
       the Clerk of the Court, at the addresses listed in the Answer to Question No. 11, no later than
                , 2023.
15. What Happens If I Do Nothing At All?
       If you are a “Current Participant” as defined on page 1, and do nothing, you will participate in the
       Settlement of the Class Action as described above in this Settlement Notice if the Settlement is approved.
       If you are a “Former Participant” as defined on page 1, and you do nothing, you will be bound by the Settlement
       of the Class Action as described above in this Settlement Notice if the Settlement is finally approved, BUT YOU
       WILL NOT RECEIVE ANY MONEY.
16. How Do I Get More Information?
       If you have general questions regarding the Settlement, you can visit this website: [INSERT], call [INSERT],
       or write to the [INSERT SETTLEMENT ADMINISTRATOR] at [INSERT].




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    11
    12                          UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
    13                               WESTERN DIVISION
    14                                           CASE NO. 2:16-cv-06191-VAP-E
          ALLEN MUNRO et al.,
    15                                           [PROPOSED] FINAL APPROVAL
                                   Plaintiffs,   ORDER AND JUDGMENT
    16     v.
    17    UNIVERSITY OF SOUTHERN
          CALIFORNIA et al.,
    18
                                   Defendants.
    19
    20
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         No. 2:16-cv-06191-VAP-E                           [PROPOSED] FINAL APPROVAL ORDER AND
                                                                                      JUDGMENT



                                                                                     Exhibit 5
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     1         Upon consideration of the Joint Motion for Final Approval of the Settlement
     2   of the above-referenced litigation under the terms of a Class Action Settlement
     3   Agreement dated February 23, 2023, (the “Settlement Agreement”), the Court
     4   hereby orders and adjudges as follows:
     5         For purposes of this Final Order and Judgment, capitalized terms used herein
     6   have the definitions set forth in the Settlement Agreement, which is incorporated
     7   herein by reference.
     8         In accordance with the Court’s Order Granting Preliminary Approval,
     9   Settlement Notice was timely distributed by electronic or first-class mail to all
    10   Class Members who could be identified with reasonable effort, and Settlement
    11   Notice was published on the Settlement Website maintained by the Settlement
    12   Administrator. In addition, pursuant to the Class Action Fairness Act, 28 U.S.C.
    13   § 1711, et seq., notice was provided to the Attorneys General for each of the states
    14   in which a Class Member resides, the Attorney General of the United States, and
    15   the United States Secretary of Labor.
    16         The form and methods of notifying the Settlement Class of the terms and
    17   conditions of the proposed Settlement Agreement met the requirements of Fed. R.
    18   Civ. P. 23(c)(2), any other applicable law, and due process, and constituted the best
    19   notice practicable under the circumstances; and due and sufficient notices of the
    20   Fairness Hearing and the rights of all Class Members have been provided to all
    21   people, powers and entities entitled thereto.
    22         All requirements of the Class Action Fairness Act, 28 U.S.C. § 1711, et seq.,
    23   have been met.
    24         Class Members had the opportunity to be heard on all issues regarding the
    25   resolution and release of their claims by submitting objections to the Settlement
    26   Agreement to the Court.
    27         Each and every objection to the Settlement is overruled with prejudice.
    28          The Motion for Final Approval of the Settlement Agreement is hereby
         No. 2:16-cv-06191-VAP-E                 -1-          [PROPOSED] FINAL APPROVAL ORDER AND
                                                                                        JUDGMENT



                                                                                         Exhibit 5
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     1   GRANTED, the Settlement of the Class Action is APPROVED as fair,
     2   reasonable, and adequate to the Plans and the Settlement Class, and the Settling
     3   Parties are hereby directed to take the necessary steps to effectuate the terms of the
     4   Settlement Agreement.
     5          The operative complaint and all claims asserted therein in the Class Action
     6   are hereby dismissed with prejudice and without costs to any of the Settling Parties
     7   and Released Parties other than as provided for in the Settlement Agreement.
     8         The Plans, the Class Representatives, and the Class Members (and their
     9   respective heirs, estates, trustees, principals, beneficiaries, guardians, executors,
    10   administrators, representatives, agents, attorneys, partners, successors,
    11   predecessors-in-interest, and assigns and/or anyone claiming through them or
    12   acting or purporting to act for them or on their behalf) hereby, fully, finally, and
    13   forever settle, release, relinquish, waive, and discharge the Released Parties
    14   (including Defendants) from the Released Claims (as defined in Article 8 of the
    15   Settlement Agreement), whether or not such Class Member receives a monetary
    16   benefit from the settlement, whether or not such Class Member has executed and
    17   delivered a Former Participant Claim Form, whether or not such Class Member has
    18   filed an objection to the Settlement or to any application by Class Counsel and/or
    19   Other Counsel for an award of Attorneys’ Fees and Costs, and whether or not the
    20   objections or claims for distribution of such Class Member has been approved or
    21   allowed. The Class Representatives, the Class Members, and the Plans acting
    22   individually or together, or in combination with others, are hereby barred from
    23   suing or seeking to institute, maintain, prosecute, argue, or assert in any action or
    24   proceeding (including but not limited to an IRS determination letter proceeding, a
    25   Department of Labor proceeding, an arbitration, or a proceeding before any state
    26   insurance or other department or commission), any cause of action, demand, or
    27   claim on the basis of, connected with, or arising out of any of the Released Claims.
    28   Nothing herein shall preclude any action to enforce the terms of the Settlement
          No. 2:16-cv-06191-VAP-E                -2-           [PROPOSED] FINAL APPROVAL ORDER AND
                                                                                          JUDGMENT



                                                                                           Exhibit 5
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     1   Agreement in accordance with the procedures set forth in the Settlement
     2   Agreement.
     3         The Class Representatives, Class Members, and the Plans hereby settle,
     4   release, relinquish, waive, and discharge any and all rights or benefits they may
     5   now have, or in the future may have under any and all provisions, rights, and
     6   benefits conferred by California Civil Code Section 1542 and any statute, rule, and
     7   legal doctrine similar, comparable, or equivalent to California Civil Code Section
     8   1542, which provides: “A general release does not extend to claims that the
     9   creditor or releasing party does not know or suspect to exist in his or her favor at
    10   the time of executing the release and that if known by him or her would have
    11   materially affected his or her settlement with the debtor or released party.”
    12         Class Counsel, the Class Representatives, the Class Members, or the Plans
    13   may hereafter discover facts in addition to or different from those that they know
    14   or believe to be true with respect to the Released Claims. Such facts, if known by
    15   them, might have affected the decision to settle with Defendants and the other
    16   Released Parties, or the decision to release, relinquish, waive, and discharge the
    17   Released Claims, or the decision of a Class Member not to object to the
    18   Settlement. Notwithstanding the foregoing, each Class Representative, each Class
    19   Member, and the Plans has and have hereby fully, finally, and forever settled,
    20   released, relinquished, waived, and discharged any and all Released Claims (as
    21   defined in Article 8 of the Settlement Agreement). The Released Claims include
    22   known and unknown claims based on the facts alleged in the Operative Complaint
    23   in the Action or that would be barred by the principles of res judicata or collateral
    24   estoppel had the claims been asserted in the Operative Complaint, including all
    25   rights of allocation thereunder. The Class Representatives, Class Members, and the
    26   Plans have hereby acknowledged that the foregoing waiver was bargained for
    27   separately and is a key element of the Settlement embodied in the Settlement
    28   Agreement of which this release is a part.
          No. 2:16-cv-06191-VAP-E                 -3-            [PROPOSED] FINAL APPROVAL ORDER AND
                                                                                            JUDGMENT



                                                                                           Exhibit 5
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     1         The Court finds that it has subject matter jurisdiction over the claims herein
     2   and personal jurisdiction over Class Members herein pursuant to the provisions of
     3   ERISA, and expressly retains that jurisdiction for purposes of enforcing this Final
     4   Order and the Settlement Agreement. Any motion to enforce paragraphs 8 through
     5   12 of this Final Order or the Settlement Agreement, including by way of
     6   injunction, may be filed in this Court, and the provisions of the Settlement
     7   Agreement and/or this Final Order may also be asserted by way of an affirmative
     8   defense or counterclaim in response to any action that is asserted to violate the
     9   Settlement Agreement.
    10         Each Class Member shall hold harmless Defendants, Defense Counsel, and
    11   the Released Parties for any claims, liabilities, attorneys’ fees and expenses arising
    12   from the allocation of the Gross Settlement Amount or Net Settlement Amount and
    13   for all tax liability and associated penalties and interest as well as related attorneys’
    14   fees and expenses.
    15         The Settlement Administrator shall have final authority to determine the
    16   share of the Net Settlement Amount to be allocated to each Current Participant and
    17   each Authorized Former Participant.
    18         With respect to payments or distributions to Authorized Former Participants,
    19   all questions not resolved by the Settlement Agreement shall be resolved by the
    20   Settlement Administrator in its sole and exclusive discretion.
    21         With respect to any matters that arise concerning the implementation of
    22   distributions to Current Participants (after allocation decisions have been made by
    23   the Settlement Administrator in its sole discretion), all questions not resolved by
    24   the Settlement Agreement shall be resolved by the Plan administrator or other
    25   fiduciaries of the Plans in accordance with applicable law and the governing terms
    26   of the Plans.
    27         Within three (3) calendar days following the issuance of all settlement
    28   payments to Class Members, the Settlement Administrator shall prepare and
          No. 2:16-cv-06191-VAP-E              -4-          [PROPOSED] FINAL APPROVAL ORDER AND
                                                                                           JUDGMENT



                                                                                            Exhibit 5
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     1   provide to Class Counsel and Defense Counsel a list of each person who was
     2   issued a settlement payment and the amount of such payment.
     3         Upon entry of this Order, all Class Members shall be bound by the
     4   Settlement Agreement (including any amendments) and by this Final Order.
     5
     6         SO ORDERED:
     7         DATED: ________, 2023
     8
     9                                        HON. VIRGINIA A. PHILLIPS
                                              UNITED STATES DISTRICT JUDGE
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         No. 2:16-cv-06191-VAP-E                -5-          [PROPOSED] FINAL APPROVAL ORDER AND
                                                                                        JUDGMENT



                                                                                       Exhibit 5
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                                 #:21023




  [INSERT DATE]

  VIA FEDERAL EXPRESS

  [Department]
  [Address]

  Re:    Munro v. University of Southern California,
         Case No. 16-cv-6191, (C.D.Cal.), Notice Pursuant to 28 U.S.C. § 1715

  Dear Sir or Madam:

  [Settlement Administrator], an independent claim administrator, on behalf of Defendants
  the University of Southern California and the USC Retirement Plan Oversight Committee
  (collectively “USC” or “Defendants”) hereby provide this Notice of a Proposed Class
  Action Settlement in the above-referenced class action pursuant to the Class Action
  Fairness Act of 2005 (“CAFA”), 28 U.S.C. § 1715. The proposed settlement will resolve
  the claims in the Complaint in this action.

  This class action lawsuit asserts ERISA claims based on Defendants’ fiduciary oversight of
  the University of Southern California Defined Contribution Retirement Plan and the
  University of Southern California Tax-Deferred Annuity Plan (the “Plans”). Defendants
  strongly dispute those claims. The parties have agreed to settle the lawsuit to avoid the
  expenses, uncertainties, distractions, and other risks inherent in further litigation. The
  proposed settlement class consists of all participants and beneficiaries of the Plans from
  August 17, 2010 through December 31, 2022, excluding the members of the Retirement
  Plan Oversight Committee.

  As required by 28 U.S.C. § 1715(b), we enclose a CD containing the following materials
  related to the proposed settlement:




                                               Gibson, Dunn & Crutcher

                                               333 South Grand Avenue
                                               Los Angeles, CA 90071



                                                                                               Exhibit 6
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 [Addressee]
 [Date]
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 (1)    The Complaint, any materials filed with the Complaint, and any Amended
        Complaints.

 Plaintiffs’ Class Action Complaint, Amended Complaint, and Second Amended Complaint
 filed in the Munro v. University of Southern California case can be found on the enclosed
 CD as “Exhibit 1- Munro Complaints.”

 (2)    Notice of any scheduled judicial hearing in the class action.

 The Parties filed their Joint Motion for Preliminary Approval of Class Settlement on
 February 23, 2023 and requested that the Motion be heard on March 27, 2023. The Court
 has not yet scheduled a fairness hearing regarding the settlement. Once the Court sets a
 hearing date, such date(s) can be found on PACER as follows: (1) enter PACER through
 https://ecf.cacd.uscourts.gov/cgi-bin/ShowIndex.pl, (2) click the “Document Filing
 System” link, (3) click on “Query,” (4) enter the civil case number, 16-cv-6191, (5) click
 on “Run Query,” and (6) click on the link “Docket Report.” The order(s) scheduling
 hearing(s) will be found on the docket entry sheet.

 (3)    Any proposed or final notification to class members.

 The proposed Notice of Class Action Settlement as submitted to the Court can be found on
 the enclosed CD as “Exhibit 2 – Notice of Class Action Settlement and Fairness Hearing to
 Class Members.”

 (4)    Any proposed or final class action settlement.

 The Settlement Agreement entered into by the parties and as submitted to the Court can be
 found on the enclosed CD as “Exhibit 3 – Settlement Agreement.” There are no other
 agreements contemporaneously made between Class Counsel and counsel for the
 defendants.

 (5)    A final judgment or notice of dismissal.

 Final judgment has not yet been entered. Upon entry, a copy of the Final Order and
 Judgment will be available through PACER and can be accessed online as follows: (1)
 enter PACER through https://ecf.cacd.uscourts.gov/cgi-bin/ShowIndex.pl, (2) click the
 “Document Filing System” link, (3) click on “Query,” (4) enter the civil case number, 16-
 cv-6191, (5) click on “Run Query,” and (6) click on the link “Docket Report.” The order(s)
 entering final judgment will be found on the docket entry sheet.




                                                                                              Exhibit 6
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                                 #:21025


 [Addressee]
 [Date]
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 (6)    Names of class members who reside in each state and the estimated
        proportionate share of the claims of such members to the entire settlement.

 On the enclosed CD is a list of the names of Class Members who reside in your state. The
 specific settlement allocation to each Class Member will be determined by a Settlement
 Administrator appointed by the Court. As a result, we do not yet know which Class
 Members will receive settlement proceeds or how much each Class Member will receive,
 and it is not feasible to determine the estimated proportionate share of the claims of the
 Class Members who reside in each state to the entire settlement. Upon final approval of
 the Court, the settlement proceeds will be distributed among the Class Members according
 to the Plan of Allocation as set forth in the Settlement Agreement.

 (7)    Any written judicial opinion relating to the materials described in (3) through
        (5).

 The Court has not yet entered a Preliminary Approval Order or any opinions relating to the
 materials described in sections (3) through (5). Upon entry, a copy of said Order or
 opinion can be found online through the process described in section (5) above.

 Final judgment has not yet been entered. Upon entry, a copy of said judgment, as well as
 any additional materials relating to the proposed settlement including those filed after
 service of this Notice, can be found online through the process described in section (5)
 above.

 If you have questions about this notice, the lawsuits, or the enclosed materials, please do
 not hesitate to contact me.

 Sincerely,




 Enclosures




                                                                                               Exhibit 6
